Case 08-14631-GMB          Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48       Desc
                                  Exhibit A Page 1 of 35



                             EXHIBIT “A” – 1st Fee Application


  NAME OF PROFESSIONAL                 TITLE       HOURS         RATE         FEE

  1. Albert J. Mink                    Director       1.00       $305.00     $305.00

  2. Gregory Felix                     Analyst        4.00       $155.00     $620.00

  3. Mark A. Karbiner                   Vice         28.60       $245.00    $7,007.00
                                       President

  4. Michael E. Jacoby                 Managing      59.70       $405.00   $24,178.50
                                       Director

  5. Vincent J. Colistra               Managing      22.90       $405.00    $9,274.50
                                       Director

                           TOTAL:                    33.00                 $41,385.00
Case 08-14631-GMB          Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48        Desc
                                  Exhibit A Page 2 of 35



                             EXHIBIT “A” – 2nd Fee Application


  NAME OF PROFESSIONAL                 TITLE       HOURS         RATE          FEE

  1. Mark A. Karbiner                   Vice        128.00       $245.00    $31,360.00
                                       President

  2. Michael E. Jacoby                 Managing     157.90       $405.00    $63,949.50
                                       Director

  3. Vincent J. Colistra               Managing      15.10       $405.00     $6,115.50
                                       Director

                           TOTAL:                   301.00                 $101,425.00
Case 08-14631-GMB          Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48        Desc
                                  Exhibit A Page 3 of 35



                             EXHIBIT “A” – 3rd Fee Application


  NAME OF PROFESSIONAL                 TITLE       HOURS         RATE          FEE

  1. Mark A. Karbiner                   Vice        184.70       $245.00    $45,251.50
                                       President

  2. Michael E. Jacoby                 Managing     199.40       $405.00    $80,757.00
                                       Director

  3. Vincent J. Colistra               Managing      24.30       $405.00     $9,841.50
                                       Director

  4. Gregory Felix                     Analyst       38.80       $155.00     $6,014.00

                           TOTAL:                   447.20                 $141,864.00
Case 08-14631-GMB        Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48       Desc
                                Exhibit A Page 4 of 35



                           EXHIBIT “A” – 4th Fee Application


  NAME OF PROFESSIONAL               TITLE       HOURS         RATE         FEE

  1. Mark A. Karbiner                 Vice        156.90       $245.00   $38,440.50
                                     President

  2. Michael E. Jacoby               Managing      99.20       $405.00   $40,176.00
                                     Director

  3. Gregory Felix                   Analyst       30.10       $155.00    $4,665.50

                         TOTAL:                   286.20                 $83,282.00
Case 08-14631-GMB        Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48       Desc
                                Exhibit A Page 5 of 35



                           EXHIBIT “A” – 5th Fee Application


  NAME OF PROFESSIONAL               TITLE       HOURS         RATE         FEE

  1. Mark A. Karbiner                 Vice         96.30       $245.00   $23,593.50
                                     President

  2. Michael E. Jacoby               Managing      90.60       $405.00   $36,693.00
                                     Director

                         TOTAL:                   186.90                 $60,286.50
     Case 08-14631-GMB                        Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                Desc
                                                     Exhibit A Page 6 of 35


Exhibit B

Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                        3/16/08 thru 3/30/08


 Entry                                                                                               Hourly   Professional
Number Employee        Date                          Description                          Hours       Rate        Fees
       1 MEJ          3/16/2008 Review DIP Motions                                          1.20   $   405.00 $     486.00
                                Various phone calls and emails with MF re: DIP orders
        2    MEJ      3/16/2008 and carve out                                               1.10   $    405.00   $    445.50
        3    GF       3/17/2008 Research Liquidation Analyses                               4.00   $    155.00   $    620.00
        4    MAK      3/17/2008 Emails re: Cash Flow                                        0.50   $    245.00   $    122.50
        5    MAK      3/17/2008 Update Cash Flow                                            3.20   $    245.00   $    784.00
        6    MAK      3/17/2008 Phone calls with VC re: Cash Flow                           1.00   $    245.00   $    245.00
        7    MAK      3/17/2008 Update Cash Flow                                            3.00   $    245.00   $    735.00
        8    MAK      3/17/2008 Phone calls with VC re: Cash Flow                           0.50   $    245.00   $    122.50
        9    MAK      3/17/2008 Update Cash Flow                                            2.30   $    245.00   $    563.50
       10    MAK      3/17/2008 Phone calls with VC re: Cash Flow                           0.60   $    245.00   $    147.00
       11    MEJ      3/17/2008 Emails re: Cash Flow                                        0.10   $    405.00   $     40.50
                                Discussion with Dave Pichler of Versa re: Liquidation
       12    MEJ      3/17/2008 Analysis, etc.                                              0.40   $    405.00   $    162.00
       13    MEJ      3/17/2008 Phone calls with VC re: Cash Flow                           0.10   $    405.00   $     40.50
       14    MEJ      3/17/2008 Review Cash Flow                                            0.20   $    405.00   $     81.00

       15    MEJ      3/17/2008 Discussion with GF re: comparable liquidation analyses      0.10   $    405.00   $     40.50
                                Analyze detailed monthly expenses for each operating
       16    MEJ      3/17/2008 entity                                                      2.80   $    405.00   $   1,134.00
       17    MEJ      3/17/2008 Discussions with KR re: Availability                        0.30   $    405.00   $     121.50
                                Work on 13 week DIP cash flow to be submitted to the
       18    VJC      3/17/2008 court for the DIP hearing 3/18                             11.00   $    405.00   $   4,455.00
                                Conference call with the lawyers for Versa, the banks
                                and the debtor to review the 13 week DIP cash flow
       19    VJC      3/17/2008 and get comments on the model.                              0.50   $    405.00   $    202.50
                                Attend court hearing and meetings/discussions before,
       20    MEJ      3/18/2008 during and after                                            7.70   $    405.00   $   3,118.50
                                Multiple discussions and emails with PS, ZK, DP, BQ
       21    MEJ      3/18/2008 re: 1st day funding, Arcus availability, and bbase          1.20   $    405.00   $    486.00
       22    MEJ      3/18/2008 Discussion with Felger re: Feasibility                      0.20   $    405.00   $     81.00
       23    MEJ      3/18/2008 Discuss availability with PS                                0.20   $    405.00   $     81.00
       24    MEJ      3/18/2008 Review Arcus fundingg requirements                          0.20   $    405.00   $     81.00
                                Prep for Testimony of the DIP Interin Financing order
       25    VJC      3/18/2008 with Debtor's counsel                                       2.00   $    405.00   $    810.00
       26    VJC      3/18/2008 Discussion w/M. Jacoby re Liquidation Analysis              0.70   $    405.00   $    283.50
                                Attend court hearing and meetings/discussions before,
       27    VJC      3/18/2008 during and after                                            7.70   $    405.00   $   3,118.50
       28    MEJ      3/19/2008 Discussion with ZK re: funding and availability             0.10   $    405.00   $      40.50
       29    MEJ      3/19/2008 Discussion with PS re: funding and availability             0.10   $    405.00   $      40.50
       30    MEJ      3/20/2008 Template for fee application                                0.40   $    405.00   $     162.00
       31    MEJ      3/20/2008 Review liquidation analyses from other cases                0.40   $    405.00   $     162.00
       32    MEJ      3/20/2008 Discussion with PS re: vendors                              0.30   $    405.00   $     121.50
       33    MEJ      3/20/2008 Discussion with PS and MF re: Liquidation Analysis          0.60   $    405.00   $     243.00
       34    MEJ      3/20/2008 Begin Liquidation Analysis                                  1.40   $    405.00   $     567.00
       35    MEJ      3/20/2008 Continue work on Liquidation Analysis                       1.80   $    405.00   $     729.00
       36    MEJ      3/20/2008 Discussion with Versa re: Liq Analysis                      0.40   $    405.00   $     162.00
       37    MEJ      3/20/2008 Discussion with Dave Gollin re: Environmental               0.10   $    405.00   $      40.50
       38    MEJ      3/20/2008 Discussion with PS re: Shapes inventory                     0.20   $    405.00   $      81.00
       39    MEJ      3/20/2008 Discussion with MK re: Scorecard                            0.40   $    405.00   $     162.00
       40    MEJ      3/21/2008 Continue work on Liquidation Analysis                       1.90   $    405.00   $     769.50

       41    MEJ      3/21/2008 Review Dovebid and Cushman & Wakefield Appraisals           0.30   $    405.00   $     121.50
       42    MEJ      3/21/2008 Continue work on Liquidation Analysis                       3.10   $    405.00   $   1,255.50
       43    MEJ      3/21/2008 Continue work on Liquidation Analysis                       1.70   $    405.00   $     688.50
       44    MEJ      3/22/2008 Continue work on Liquidation Analysis                       0.80   $    405.00   $     324.00
       45    MEJ      3/22/2008 Continue work on Liquidation Analysis                       1.90   $    405.00   $     769.50
       46    MEJ      3/23/2008 Continue work on Liquidation Analysis                       2.80   $    405.00   $   1,134.00
                                Prepare a detailed follow up schedule for client needed
       47   Al Mink   3/24/2008 to prepare ammended schedules and SOFA                      1.00   $    305.00   $     305.00
       48    MAK      3/24/2008 Begin cash flow scorecard                                   3.50   $    245.00   $     857.50
       49    MAK      3/24/2008 Revise cash flow scorecard                                  2.00   $    245.00   $     490.00
       50    MAK      3/24/2008 Review cash flow scorecard with Mr. Sorensen                1.00   $    245.00   $     245.00
       51    MAK      3/24/2008 Revise cash flow scorecard                                  2.50   $    245.00   $     612.50
       52    MEJ      3/24/2008 Finalize 1st draft if Liquidation Analysis                  4.70   $    405.00   $   1,903.50




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      Case 08-14631-GMB                          Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                                        Exhibit A Page 7 of 35


Exhibit B

Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                        3/16/08 thru 3/30/08


  Entry                                                                                                 Hourly   Professional
 Number Employee           Date                           Description                      Hours         Rate        Fees
       53 MEJ             3/24/2008 Review Scorecard template with MK                        0.10   $     405.00 $      40.50
       54 MEJ             3/24/2008 Discuss Scorecard Issues with PS                         0.20   $     405.00 $      81.00
       55 MEJ             3/24/2008 Review Liquidation Analysis with PS                      1.10   $     405.00 $     445.50
       56 MEJ             3/24/2008 Incorporate PS comments in Liq Analysis                  1.40   $     405.00 $     567.00
       57 MEJ             3/24/2008 Discuss/review avail and scorecard with PS and MK        0.30   $     405.00 $     121.50
       58 MAK             3/25/2008 Begin rolling 13-week cash flow scorecard                4.00   $     245.00 $     980.00
                                    Review rolling 13-week cash flow scorecard with Mr.
        59    MAK         3/25/2008 Sorensen                                                 1.20   $     245.00   $    294.00
        60    MAK         3/25/2008 Revise rolling 13-week cash flow scorecard               3.30   $     245.00   $    808.50
        61    MEJ         3/25/2008 Review SOFA and Schedules "To Do' List                   0.40   $     405.00   $    162.00
        62    MEJ         3/25/2008 Review and Discuss Scorecard                             0.40   $     405.00   $    162.00
                                    Conference call with MF and SG re: Liquidation
        63     MEJ        3/25/2008 Analysis                                                 1.70   $     405.00   $    688.50
                                    Reviewed updated 13 week DIP cash flow and Score
        64     VJC        3/25/2008 Card for first week                                      0.50   $     405.00   $    202.50
        65     VJC        3/25/2008 Reviewed Liquidation analysis for M. Jacoby              0.50   $     405.00   $    202.50
        66     MEJ        3/26/2008 Comments from VC on Liq Analysis                         0.30   $     405.00   $    121.50
        67     MEJ        3/26/2008 Comments from SG on Liq Analysis                         0.70   $     405.00   $    283.50
        68     MEJ        3/26/2008 Conference Call with Versa re: Liq Analaysis             1.00   $     405.00   $    405.00
        69     MEJ        3/26/2008 Conversation with Paul re: Financial Forecast            0.40   $     405.00   $    162.00
        70     MEJ        3/26/2008 Additional comments from SG on Liq Analysis              1.10   $     405.00   $    445.50
        71     MEJ        3/26/2008 Begin Updating Liq Analysis                              1.50   $     405.00   $    607.50

        72     MEJ        3/26/2008 Discussion with MF and PS re: Schedules and SOFAS        0.40   $     405.00   $    162.00
        73     MEJ        3/26/2008 Discussions with Paul and Dave re: checks, Ultra         0.30   $     405.00   $    121.50
                                    Review Dovebid Inventory Appraisal - Shapes, Delair,
        74     MEJ        3/27/2008 Ultra                                                    1.70   $     405.00   $     688.50
        75     MEJ        3/27/2008 Review Dovebid Inventory Appraisal - AW                  0.30   $     405.00   $     121.50
        76     MEJ        3/27/2008 Analyze a/r liquidation - other cases                    0.20   $     405.00   $      81.00
        77     MEJ        3/27/2008 Update liquidation analysis                              5.20   $     405.00   $   2,106.00
        78     MEJ        3/28/2008 Review PS forecast; provide comments                     0.80   $     405.00   $     324.00
        79     MEJ        3/28/2008 Review PS follow-up to Liq Analysis questions            0.30   $     405.00   $     121.50
        80     MEJ        3/28/2008 Update with MF                                           0.10   $     405.00   $      40.50
                                    Finalize 1st draft of Liquidation Analysis for
        81     MEJ        3/29/2008 Supplemental Plan                                        0.60   $     405.00   $    243.00

Total - 1st Fee Application                                                                116.20                  $ 41,385.00




                                                                                    2
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                            Desc
                                            Exhibit A Page 8 of 35


Exhibit B
2nd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                             Hourly     Professional
 Number Employee         Date                         Description                      Hours         Rate          Fees

        1    MAK       3/31/2008 Begin cash flow scorecard                               1.10   $     245.00   $     269.50
        2    MAK       3/31/2008 Prepare cash flow scorecard                             1.20   $     245.00   $     294.00
        3    MAK       3/31/2008 Continue cash flow scorecard                            1.30   $     245.00   $     318.50
        4    MAK       3/31/2008 Review cash flow scorecard with Mr. Sorensen            0.80   $     245.00   $     196.00
        5    MAK       3/31/2008 Revise cash flow scorecard                              1.30   $     245.00   $     318.50
        6    MAK       3/31/2008 Finalize cash flow scorecard                            1.70   $     245.00   $     416.50
        7    MAK       3/31/2008 Begin rolling 13-week cash flow scorecard               1.70   $     245.00   $     416.50
        8    MAK        4/1/2008 Prepare rolling 13-week cash flow scorecard             1.90   $     245.00   $     465.50
                                 Review rolling 13-week cash flow scorecard with Mr.
        9    MAK        4/1/2008 Sorensen                                                0.80   $     245.00   $     196.00
       10    MAK        4/1/2008 Revise rolling 13-week cash flow scorecard              1.80   $     245.00   $     441.00
       11    MAK        4/1/2008 Begin prep for meeting with JH Cohen                    1.10   $     245.00   $     269.50
       12    MEJ        4/1/2008 Review HIG Motion                                       0.30   $     405.00   $     121.50
       13    MEJ        4/1/2008 Discuss model with PS                                   0.40   $     405.00   $     162.00
       14    MEJ        4/1/2008 Review MOR Guidelines - Exhibit A                       0.20   $     405.00   $      81.00
       15    MEJ        4/1/2008 Cash flow review - Week 2                               0.80   $     405.00   $     324.00
       16    MEJ        4/1/2008 Cash flow Scorecard review                              0.40   $     405.00   $     162.00
       17    MEJ        4/1/2008 Conference call with MF                                 1.00   $     405.00   $     405.00
       18    MEJ        4/1/2008 Conference call with Committee Counsel and FA           1.60   $     405.00   $     648.00
       19    MEJ        4/1/2008 Follow-up from Committee Call                           0.70   $     405.00   $     283.50
       20    MEJ        4/1/2008 Discussions with PS                                     0.60   $     405.00   $     243.00
       21    MEJ        4/1/2008 Conference call with Versa re: Week 2                   0.50   $     405.00   $     202.50
       22    MEJ        4/1/2008 emails re: Committee                                    0.30   $     405.00   $     121.50
                                 Conference call with Mgmt. and lawyers to discuss
       23    VJC        4/1/2008 upcoming hearing and Objection by HIG                   0.50   $     405.00   $     202.50
       24    MAK        4/2/2008 Prep for meeting with JH Cohen                          0.90   $     245.00   $     220.50
                                 Meeting with JH Cohen to review 13-week DIP cash
       25    MAK        4/2/2008 flow                                                    6.90   $     245.00   $    1,690.50
       26    MEJ        4/2/2008 Review CIT loan agreement                               1.00   $     405.00   $      405.00
       27    MEJ        4/2/2008 Review PS Model                                         1.80   $     405.00   $      729.00
                                 Review Committee Due Diligence request with PS and
       28    MEJ        4/2/2008 MF                                                      0.60   $     405.00   $      243.00
       29    MEJ        4/2/2008 Discuss model with PS                                   0.90   $     405.00   $      364.50
       30    MEJ        4/2/2008 Review CF Assumptions for JH Cohn                       0.40   $     405.00   $      162.00
       31    MEJ        4/2/2008 Prepare for meeting with JH Cohn                        0.60   $     405.00   $      243.00
       32    MEJ        4/2/2008 Meeting with JH Cohn                                    4.60   $     405.00   $    1,863.00
       33    MEJ        4/2/2008 Conference call with MF, SG re: Committee               1.20   $     405.00   $      486.00
                                 Recap from JH Cohn meeting; draft emails; provide
       34    MEJ        4/2/2008 follow-up information                                   1.50   $     405.00   $     607.50
       35    MAK        4/3/2008 Conference call with JH Cohen                           1.10   $     245.00   $     269.50
       36    MAK        4/3/2008 Prep revised 4-week CF budget                           1.70   $     245.00   $     416.50
       37    MAK        4/3/2008 Review revised 4-week CF budget with Mr. Sorensen       0.60   $     245.00   $     147.00
       38    MEJ        4/3/2008 Review revised model                                    0.70   $     405.00   $     283.50
       39    MEJ        4/3/2008 Discussion with PS re: revised model                    0.20   $     405.00   $      81.00
       40    MEJ        4/3/2008 Conference call with MF, SG re: HIG                     0.90   $     405.00   $     364.50
       41    MEJ        4/3/2008 Prepare preference analysis for UST                     0.20   $     405.00   $      81.00
       42    MAK        4/4/2008 Prep conversion of 13-Week CF to EBITDA                 2.30   $     245.00   $     563.50
       43    MEJ        4/4/2008 Prepare fee application                                 1.10   $     405.00   $     445.50
       44    MEJ        4/4/2008 Review revised model                                    0.20   $     405.00   $      81.00
       45    MEJ        4/4/2008 Review disbursements                                    0.20   $     405.00   $      81.00
       46    MEJ        4/4/2008 Review borrowing base                                   0.10   $     405.00   $      40.50
    Case 08-14631-GMB                 Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                             Exhibit A Page 9 of 35


Exhibit B
2nd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                                 Hourly   Professional
 Number Employee         Date                            Description                       Hours         Rate        Fees
       47 MEJ            4/4/2008 Review information for JH Cohn                             0.40   $     405.00 $    162.00
       48 MEJ            4/4/2008 Review monrhly financials and trial balances               0.90   $     405.00 $    364.50
       49 MEJ            4/4/2008 Update with PS re: Committee                               0.30   $     405.00 $    121.50
       50 MEJ            4/4/2008 Update with MK re: cf analysis                             0.10   $     405.00 $      40.50
       51 MEJ            4/4/2008 Review information for JH Cohn                             0.80   $     405.00 $    324.00
       52 MEJ            4/4/2008 Conference call with JH Cohn                               1.30   $     405.00 $    526.50
       53 MEJ            4/4/2008 Discussion with MF and PS                                  0.40   $     405.00 $    162.00
       54 MEJ            4/4/2008 Draft presentation for Committee meeting                   1.40   $     405.00 $    567.00
       55 MEJ            4/4/2008 Convert DIP Model to EBITDA estimate                       0.60   $     405.00 $    243.00
       56 MEJ            4/4/2008 Conference call with Versa re: liquidation analysis        0.50   $     405.00 $    202.50

       57    MEJ         4/4/2008 Conference call with Cozen, SG, PS re: Committee; HIG      1.40   $     405.00   $     567.00

       58    MEJ         4/4/2008 Continue work on Committee presentation and exhibits       0.80   $     405.00   $     324.00
       59    MEJ         4/4/2008 Discussion with PS re: revised model                       0.10   $     405.00   $      40.50
                                  Call w/M. Felger re upcoming Hearing and questions
       60    VJC         4/4/2008 from Unsecured Creditors                                   0.30   $     405.00   $     121.50
                                  Review Scorecards from Mark Karbiner and updated 13
       61    VJC         4/4/2008 week cash flow                                             0.50   $     405.00   $     202.50
       62    MEJ         4/5/2008 Review PS Model                                            0.10   $     405.00   $      40.50
       63    MEJ         4/5/2008 Email to PS and MF re: Emergence Financing                 0.20   $     405.00   $      81.00
       64    MAK         4/6/2008 Prep revised 13-week CF DIP budget                         1.80   $     245.00   $     441.00
       65    MAK         4/6/2008 Prep revised 13-week CF DIP budget                         1.90   $     245.00   $     465.50
       66    MAK         4/6/2008 Prep revised 13-week CF DIP budget                         1.60   $     245.00   $     392.00
       67    MEJ         4/6/2008 Compare DIP Model with original model                      1.80   $     405.00   $     729.00
       68    MEJ         4/6/2008 Continue comparison - analytics                            0.80   $     405.00   $     324.00
       69    MEJ         4/6/2008 Discussion with VC re: DIP Model                           0.30   $     405.00   $     121.50
       70    MEJ         4/6/2008 Discussion with MK re: Delair Material and Interco         0.90   $     405.00   $     364.50
       71    MEJ         4/6/2008 Review various spreadsheets and analysis                   0.40   $     405.00   $     162.00

       72    MEJ         4/6/2008 Review and revise presentation for Nov Bridge Analysis     1.70   $     405.00   $     688.50
       73    MEJ         4/6/2008 Discussion with MK re: Updated DIP Model                   0.40   $     405.00   $     162.00
       74    MAK         4/7/2008 Begin cash flow scorecard                                  0.90   $     245.00   $     220.50
       75    MAK         4/7/2008 Prepare cash flow scorecard                                1.10   $     245.00   $     269.50
       76    MAK         4/7/2008 Continue cash flow scorecard                               1.10   $     245.00   $     269.50
       77    MAK         4/7/2008 Review cash flow scorecard with Mr. Sorensen               0.60   $     245.00   $     147.00
       78    MAK         4/7/2008 Revise cash flow scorecard                                 1.10   $     245.00   $     269.50
       79    MAK         4/7/2008 Finalize cash flow scorecard                               1.10   $     245.00   $     269.50
       80    MAK         4/7/2008 Prepare Delair material purchase analysis                  0.80   $     245.00   $     196.00
                                  Review Delair material purchase analysis with Mr.
       81    MAK         4/7/2008 Sorenson                                                   0.70   $     245.00   $     171.50
       82    MAK         4/7/2008 Continue prep Delair material purchases analysis           0.70   $     245.00   $     171.50
       83    MEJ         4/7/2008 Liquidation analysis update                                1.60   $     405.00   $     648.00
       84    MEJ         4/7/2008 Review materials for Conference Call with HIG              0.40   $     405.00   $     162.00
       85    MEJ         4/7/2008 Conf Call with HIG and GT; Follow-up w/ Debtor             1.30   $     405.00   $     526.50
       86    MEJ         4/7/2008 Review Cash Flow                                           0.60   $     405.00   $     243.00
                                  Travel to NY; Prep for Committee Meeting; Attend
       87    MEJ         4/7/2008 Committee Meeting                                          7.50   $     405.00   $    3,037.50
       88    MEJ         4/7/2008 Discussion with Dave Pichler re: Committee meeting         0.30   $     405.00   $      121.50
       89    MAK         4/8/2008 Begin prep of new weekly CF thru 9/28                      3.70   $     245.00   $      906.50
       90    MAK         4/8/2008 Continue prep weekly CF thru 9/28                          3.10   $     245.00   $      759.50
       91    MAK         4/8/2008 Review of weekly CF thru 9/28 with Mr. Sorenson            0.60   $     245.00   $      147.00
    Case 08-14631-GMB                 Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                      Desc
                                            Exhibit A Page 10 of 35


Exhibit B
2nd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                                        Hourly   Professional
 Number Employee         Date                           Description                               Hours         Rate        Fees
       92 MAK            4/8/2008 Revise CF thru 9/28                                               2.30   $     245.00 $    563.50
       93 MEJ            4/8/2008 Prepare and provide information to the Committee                  0.60   $     405.00 $    243.00
       94 MEJ            4/8/2008 Review APA from HIG                                               0.40   $     405.00 $    162.00
       95 MEJ            4/8/2008 Discuss Pro Forma Balance Sheet with PS                           0.70   $     405.00 $    283.50
                                  Discuss and begin to analyze sources and uses at
       96    MEJ         4/8/2008 emergence                                                         0.90   $     405.00   $     364.50
                                  Discussion with Jules Kramer; review and analyze l/c
       97    MEJ         4/8/2008 and material cost issue at ultra                                  2.20   $     405.00   $     891.00
       98    MEJ         4/8/2008 Review weekly scorecard                                           0.40   $     405.00   $     162.00
       99    MEJ         4/8/2008 Prepare liquidation analysis to email to Committee                0.70   $     405.00   $     283.50
      100    MEJ         4/8/2008 Review HIG APA                                                    0.30   $     405.00   $     121.50

      101    MEJ         4/8/2008 Conference call with JH Cohn re: Liquidation Analysis             0.50   $     405.00   $     202.50
      102    MEJ         4/8/2008 Discussion with MF re: HIG analysis for JH Cohn                   0.40   $     405.00   $     162.00
      103    MEJ         4/8/2008 Continue conf call with JH Cohn re: Liq Analysis                  1.30   $     405.00   $     526.50
      104    MEJ         4/8/2008 Analyze HIG offer relative to Versa Plan                          0.40   $     405.00   $     162.00

      105    MEJ         4/8/2008 Review Ultra information re: open Pos and ship dates              0.30   $     405.00   $      121.50
      106    MEJ         4/8/2008 Discussion with MF re: HIG                                        0.40   $     405.00   $      162.00
      107    MAK         4/9/2008 Prep weekly CF thru 9/28                                          3.60   $     245.00   $      882.00
      108    MAK         4/9/2008 Review of weekly CF thru 9/28 with Mr. Sorenson                   0.80   $     245.00   $      196.00
      109    MAK         4/9/2008 Revise CF thru 9/28                                               4.30   $     245.00   $    1,053.50
      110    MEJ         4/9/2008 Review Ultra spreadsheets                                         0.20   $     405.00   $       81.00
      111    MEJ         4/9/2008 Discussion with Howard re: HIG APA                                1.30   $     405.00   $      526.50
      112    MEJ         4/9/2008 Continue review of Ultra spreadsheets                             0.40   $     405.00   $      162.00
                                  Discussion with PS and DG re: emergence costs and
      113    MEJ         4/9/2008 contract cure amounts                                             0.70   $     405.00   $     283.50
                                  Discussion with MK re: cash flow extension for
      114    MEJ         4/9/2008 additional 13 weeks                                               0.20   $     405.00   $      81.00

      115    MEJ        4/9/2008 Meeting at Ultra re: material, letters of credit, timing, etc.     1.80   $     405.00   $      729.00
      116    MEJ        4/9/2008 Conference call with Cozen                                         1.70   $     405.00   $      688.50
      117    MEJ        4/9/2008 Discussion with Irv re: Liq Analysis                               0.50   $     405.00   $      202.50
      118    MEJ        4/9/2008 Conf Call with Howard re: Environmental and Union                  2.20   $     405.00   $      891.00
      119    MEJ        4/9/2008 PS re: Workers Comp                                                0.40   $     405.00   $      162.00
      120    MEJ        4/9/2008 Begin work on 6/30 Balance Sheet                                   2.10   $     405.00   $      850.50
      121    MEJ        4/9/2008 Discussion with MF re: HIG                                         0.60   $     405.00   $      243.00
      122    MAK       4/10/2008 Prep weekly CF thru 9/28                                           2.30   $     245.00   $      563.50
      123    MAK       4/10/2008 Review of weekly CF thru 9/28 with Mr. Sorenson                    4.10   $     245.00   $    1,004.50
      124    MAK       4/10/2008 Revise CF thru 9/28                                                3.70   $     245.00   $      906.50
      125    MAK       4/10/2008 Continue prep CF thru 9/28                                         1.10   $     245.00   $      269.50
      126    MEJ       4/10/2008 Update with VC re: HIG, Liq Analysis                               0.40   $     405.00   $      162.00
      127    MEJ       4/10/2008 Review 503(b)(9) claims                                            0.30   $     405.00   $      121.50
      128    MEJ       4/10/2008 Review/analyze re taxes                                            0.20   $     405.00   $       81.00
      129    MEJ       4/10/2008 Continue 503(b)(9) claim review                                    0.10   $     405.00   $       40.50
      130    MEJ       4/10/2008 Continue 6/30/08 balance sheet preparation                         2.20   $     405.00   $      891.00
      131    MEJ       4/10/2008 Discussion with SG re: Versa/HIG/etc                               0.20   $     405.00   $       81.00
      132    MEJ       4/10/2008 Sales analysis                                                     0.40   $     405.00   $      162.00
      133    MEJ       4/10/2008 Discussion with PS re: HIG vs Versa                                0.40   $     405.00   $      162.00
      134    MEJ       4/10/2008 Review cf extension with MK                                        0.60   $     405.00   $      243.00
      135    MEJ       4/10/2008 Continue work on 6/30 balance sheet                                3.10   $     405.00   $    1,255.50
      136    MEJ       4/10/2008 Conf Call with JH Cohn re Liq Analysis                             0.60   $     405.00   $      243.00
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                           Exhibit A Page 11 of 35


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Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                              Description                      Hours       Rate        Fees
      137 MEJ          4/10/2008 Discussion with MF re: various                              0.40   $   405.00 $    162.00
                                 Finalize draft of pro forma balance sheet - send to
      138    MEJ       4/10/2008 Versa                                                       1.50   $    405.00   $     607.50
      139    MEJ       4/10/2008 Finalize draft of liquidation analysis - send to Versa      1.10   $    405.00   $     445.50
      140    MEJ       4/10/2008 Respond to DP email re: Pro Forma BS                        0.20   $    405.00   $      81.00
                                 Phone conversation w/M. Jacoby re upcoming hearing
      141    VJC       4/10/2008 and Objection by HIG and cash flows                         0.80   $    405.00   $     324.00
                                 Phone conversation with Alan S. and Julianne L rCIT re
      142    VJC       4/10/2008 issues with Scorecard and HIG objection                     0.50   $    405.00   $     202.50
      143    MAK       4/11/2008 Prep weekly CF thru 9/28                                    1.10   $    245.00   $     269.50
      144    MAK       4/11/2008 Review of weekly CF thru 9/28 with Mr. Sorenson             0.40   $    245.00   $      98.00
      145    MAK       4/11/2008 Revise CF thru 9/28                                         2.10   $    245.00   $     514.50
      146    MAK       4/11/2008 Prep BK filing monthly projections                          3.10   $    245.00   $     759.50
      147    MAK       4/11/2008 Revise BK filing monthly projections                        1.70   $    245.00   $     416.50
      148    MEJ       4/11/2008 Update narrative for Liq Analysis                           0.40   $    405.00   $     162.00
      149    MEJ       4/11/2008 Review AW A/R                                               0.30   $    405.00   $     121.50
      150    MEJ       4/11/2008 Analyze inventory on pro forma balance sheet                0.30   $    405.00   $     121.50
      151    MEJ       4/11/2008 Update liquidation analysis for final 6/29 estimates        1.20   $    405.00   $     486.00
                                 Multiple discussions with Versa re: Pro Forma BS and
      152    MEJ       4/11/2008 Liq Analysis                                                0.80   $    405.00   $     324.00
                                 Conf Call with Cozen re: HIG due diligence list and
      153    MEJ       4/11/2008 general status of Supplemental Plan filings                 0.80   $    405.00   $     324.00
                                 Additional updates to pf bs and liq analysis during the
      154    MEJ       4/11/2008 course of the day                                           2.10   $    405.00   $     850.50
                                 Discussion with Howard re: HIG and historical sales
      155    MEJ       4/11/2008 process                                                     0.30   $    405.00   $     121.50
                                 Review spreadsheets for UST filing; discuss same with
      156    MEJ       4/11/2008 MK                                                          1.10   $    405.00   $     445.50
      157    MEJ       4/11/2008 Conference call with CIT and Bank Group                     0.70   $    405.00   $     283.50
      158    MEJ       4/11/2008 Discussions with JP re filing requirements                  0.20   $    405.00   $      81.00
                                 Phone conversation w/mark K. to review cash flows and
      159    VJC       4/11/2008 Mike J. re HIG Plan                                         0.40   $    405.00   $     162.00
      160    MEJ       4/13/2008 Review HIG Plan and Term Loan Documents                     2.20   $    405.00   $     891.00
      161    MAK       4/14/2008 Begin cash flow scorecard                                   1.10   $    245.00   $     269.50
      162    MAK       4/14/2008 Prepare cash flow scorecard                                 0.50   $    245.00   $     122.50
      163    MAK       4/14/2008 Continue cash flow scorecard                                0.90   $    245.00   $     220.50
      164    MAK       4/14/2008 Review cash flow scorecard with Mr. Sorensen                0.50   $    245.00   $     122.50
      165    MAK       4/14/2008 Revise cash flow scorecard                                  0.80   $    245.00   $     196.00
      166    MAK       4/14/2008 Finalize cash flow scorecard                                0.80   $    245.00   $     196.00
      167    MAK       4/14/2008 Begin cash flow thru 9/28/08                                2.10   $    245.00   $     514.50
      168    MAK       4/14/2008 Continue cash flow thru 9/28/08                             1.70   $    245.00   $     416.50
      169    MEJ       4/14/2008 Discuss HIG Plan with JH Cohn                               0.30   $    405.00   $     121.50
      170    MEJ       4/14/2008 Update with PS                                              0.10   $    405.00   $      40.50
      171    MEJ       4/14/2008 Discuss Contract Cure with DG                               0.20   $    405.00   $      81.00
      172    MEJ       4/14/2008 Review Arcus Term Loan                                      0.30   $    405.00   $     121.50
      173    MEJ       4/14/2008 Discuss Sun Capital and Liq Analysis with MF                0.70   $    405.00   $     283.50
      174    MEJ       4/14/2008 Finalize Liq Analysis for Plan Supplement                   0.40   $    405.00   $     162.00
      175    MEJ       4/14/2008 Review Plan Supplement                                      0.80   $    405.00   $     324.00
      176    MEJ       4/14/2008 Discussion with Howard                                      0.90   $    405.00   $     364.50
      177    MEJ       4/14/2008 Discussion with Paul                                        0.50   $    405.00   $     202.50
      178    MEJ       4/14/2008 Conference call with Cozen et al re: HIG                    0.40   $    405.00   $     162.00
      179    MEJ       4/14/2008 Review Schedules and SOFAS - 341 Meeting Prep               1.10   $    405.00   $     445.50
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 12 of 35


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Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                              Hourly   Professional
 Number Employee        Date                           Description                        Hours       Rate        Fees
      180 MEJ          4/14/2008 Prepare items for Committee                                0.90   $   405.00 $    364.50
      181 MEJ          4/14/2008 Discussion with MF re: Committee                           0.60   $   405.00 $    243.00
      182 MEJ          4/14/2008 More preparation for Committee Request                     0.50   $   405.00 $    202.50
                                 Phone conversation w/Felger and Mike J. re anticipated
                                 meeting w/Committee and Versa. Review material from
      183    VJC       4/14/2008 Committee.                                                 0.30   $    405.00   $     121.50
      184    MAK       4/15/2008 Prepare cash flow thru 9/28/08                             0.80   $    245.00   $     196.00
      185    MAK       4/15/2008 Prepare rolling 13-week cash flow                          1.80   $    245.00   $     441.00
      186    MAK       4/15/2008 Continue Prep cash flow thru 9/28/08                       2.90   $    245.00   $     710.50
      187    MAK       4/15/2008 Continue prep rolling 13-week cash flow                    1.70   $    245.00   $     416.50
      188    MAK       4/15/2008 Begin cash reconciliation for Weeks #1 - Week#4            1.40   $    245.00   $     343.00
      189    MEJ       4/15/2008 Review Objections to Disclosure Statement                  0.60   $    405.00   $     243.00
      190    MEJ       4/15/2008 Update Pro Forma Balance Sheet                             0.40   $    405.00   $     162.00
      191    MEJ       4/15/2008 Discussion with MF                                         0.30   $    405.00   $     121.50
      192    MEJ       4/15/2008 Discussion with Irv                                        0.30   $    405.00   $     121.50
      193    MEJ       4/15/2008 Review model provided to Lazard                            0.20   $    405.00   $      81.00
      194    MEJ       4/15/2008 Continue review of objections                              0.50   $    405.00   $     202.50
                                 Prep for Meeting with Versa and Committee; Review
      195    MEJ       4/15/2008 Plan Supplement                                            0.80   $    405.00   $     324.00
      196    MEJ       4/15/2008 Review Week 4 CF Scorecard                                 0.70   $    405.00   $     283.50
      197    MEJ       4/15/2008 Discussion with DP                                         0.20   $    405.00   $      81.00
                                 Pre-meeting, Meeting and Post-Meeting at Cozen's
      198    MEJ       4/15/2008 office with Versa and Committee                            5.40   $    405.00   $    2,187.00
                                 Meeting at cozen's office w/Committee and Versa and
      199    VJC       4/15/2008 lawyers.                                                   5.50   $    405.00   $    2,227.50
      200    MAK       4/16/2008 Prep cash reconciliation for Weeks #1 - Week#4             2.10   $    245.00   $      514.50
      201    MAK       4/16/2008 Prepare cash flow thru 9/28/08                             1.30   $    245.00   $      318.50
      202    MAK       4/16/2008 Prepare rolling 13-week cash flow                          1.70   $    245.00   $      416.50
      203    MAK       4/16/2008 Prep cash reconciliation for Weeks #1 - Week#4             1.20   $    245.00   $      294.00
      204    MAK       4/16/2008 Review weekly CF thru 9/28 with Mr. Sorenson               0.70   $    245.00   $      171.50

      205    MAK       4/16/2008 Review proforma balance sheet and liquidation analysis     1.80   $    245.00   $     441.00
      206    MEJ       4/16/2008 Discussion with PS                                         0.30   $    405.00   $     121.50
      207    MEJ       4/16/2008 Review and Update 503(b)(9) claims                         0.40   $    405.00   $     162.00
      208    MEJ       4/16/2008 Review availability                                        0.20   $    405.00   $      81.00
                                 Discussion with Howard re: Balance Sheet, HIG,
      209    MEJ       4/16/2008 503(b)(9)                                                  0.50   $    405.00   $     202.50
                                 Review and prepare spreadsheets for executory
      210    MEJ       4/16/2008 contract cure amounts                                      0.40   $    405.00   $     162.00
      211    MEJ       4/16/2008 Review BR draft of updated DS and Plan                     1.20   $    405.00   $     486.00
      212    MEJ       4/16/2008 Review Committee Objections                                1.30   $    405.00   $     526.50
      213    MEJ       4/16/2008 Discussion with MF                                         0.20   $    405.00   $      81.00
      214    MEJ       4/16/2008 Review CF Scorecard and Update                             1.30   $    405.00   $     526.50
      215    MEJ       4/16/2008 Review Ultra contract file                                 0.10   $    405.00   $      40.50
      216    MEJ       4/16/2008 Discussion with Howard                                     0.40   $    405.00   $     162.00
      217    MEJ       4/16/2008 Discussion with DG re: contracts                           0.20   $    405.00   $      81.00
      218    MEJ       4/16/2008 Discussion with SG                                         0.40   $    405.00   $     162.00
      219    MEJ       4/16/2008 Review additional objections                               0.60   $    405.00   $     243.00

      220    MEJ       4/16/2008 Conference call with Cozen et al re: tomorrow hearing      0.50   $    405.00   $     202.50
                                 Phone conversation w/mark K. to review cash flows and
      221    VJC       4/16/2008 Mike J. re HIG Plan                                        0.30   $    405.00   $     121.50
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                  Desc
                                           Exhibit A Page 13 of 35


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Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                                   Hourly   Professional
 Number Employee        Date                            Description                          Hours         Rate        Fees
      222 MAK          4/17/2008 Prep cash reconciliation for Weeks #1 - Week#4                1.80   $     245.00 $    441.00
      223 MAK          4/17/2008 Revise CF thru 9/28                                           1.70   $     245.00 $    416.50
      224 MAK          4/17/2008 Prep cash reconciliation for Weeks #1 - Week#4                2.30   $     245.00 $    563.50
      225 MAK          4/17/2008 Prepare rolling 13-week cash flow                             0.70   $     245.00 $    171.50
      226 MAK          4/17/2008 Prep cash reconciliation for Weeks #1 - Week#4                1.70   $     245.00 $    416.50
      227 MAK          4/17/2008 Revise CF thru 9/28                                           1.90   $     245.00 $     465.50
      228 MAK          4/17/2008 Prepare rolling 13-week cash flow                             0.70   $     245.00 $     171.50
      229 MEJ          4/17/2008 Review cf rollforward                                         0.80   $     405.00 $     324.00
      230 MEJ          4/17/2008 Review BR objection to Committee                              0.70   $     405.00 $     283.50
      231 MEJ          4/17/2008 Review Committee Subpoena                                     0.20   $     405.00 $      81.00
      232 MEJ          4/17/2008 Post Hearing Conf Call with Cozen                             1.80   $     405.00 $     729.00
      233 MEJ          4/17/2008 Review Delair cf                                              0.20   $     405.00 $      81.00
      234 MEJ          4/17/2008 Discussion with JH Cohn re: new budget                        0.40   $     405.00 $     162.00
                                 Conference call w/Felger, management and M. Jacoby
                                 to review and discuss what the Committee requested
      235    VJC       4/17/2008 and HIG's doc. Request                                        1.20   $     405.00   $     486.00
      236    MEJ       4/18/2008 Discussion with MF re new budget                              0.50   $     405.00   $     202.50
      237    MEJ       4/18/2008 Update with PS                                                0.40   $     405.00   $     162.00
      238    MEJ       4/18/2008 Review Delair results                                         0.20   $     405.00   $      81.00
      239    MEJ       4/18/2008 Conversation with Howard re; new budget                       0.30   $     405.00   $     121.50
      240    MEJ       4/18/2008 Review Week 4 CF Scorecard                                    0.30   $     405.00   $     121.50
      241    MEJ       4/18/2008 Discussion with Irv re: float and week #4                     0.40   $     405.00   $     162.00
      242    MEJ       4/18/2008 Review scorecard and rollforward                              0.70   $     405.00   $     283.50
      243    MEJ       4/18/2008 Discussion with Howard re: his email                          0.30   $     405.00   $     121.50
      244    MEJ       4/18/2008 Preparation of due diligence items for HIG                    1.30   $     405.00   $     526.50
      245    MEJ       4/18/2008 Review 13 week rollforward with PS                            1.00   $     405.00   $     405.00
      246    MEJ       4/18/2008 Update 13 week rollforward                                    0.50   $     405.00   $     202.50
      247    MEJ       4/18/2008 Discussion with Howard re: DIP loan rollforward               0.50   $     405.00   $     202.50
      248    MEJ       4/18/2008 Discussion with Felger re: Committee, Versa, etc.             0.40   $     405.00   $     162.00
      249    MEJ       4/18/2008 Discussion with PS                                            0.20   $     405.00   $      81.00

      250    MEJ       4/18/2008 Begin reconciliation of revolver rollforward in DIP model     0.60   $     405.00   $     243.00
      251    MEJ       4/19/2008 Finalize new budget for HIG                                   0.40   $     405.00   $     162.00
                                 Finalize reconciliation of revolver rollforward for JH
      252    MEJ       4/19/2008 Cohn                                                          1.20   $     405.00   $     486.00
      253    MEJ       4/20/2008 Various emails with Felger                                    0.10   $     405.00   $      40.50

                                  E-mails w/Felger re Deposition and info for Committee.
      254    VJC       4/20/2008 Prepare and send info to Felger re Committee request.         1.50   $     405.00   $     607.50
      255    MAK       4/21/2008 Begin cash flow scorecard                                     1.00   $     245.00   $     245.00
      256    MAK       4/21/2008 Prepare cash flow scorecard                                   0.90   $     245.00   $     220.50
      257    MAK       4/21/2008 Continue cash flow scorecard                                  1.20   $     245.00   $     294.00
      258    MEJ       4/21/2008 Review transcript                                             0.80   $     405.00   $     324.00
      259    MEJ       4/21/2008 Discussion with HK                                            0.30   $     405.00   $     121.50
      260    MEJ       4/21/2008 Revise CF and provide to MF                                   0.20   $     405.00   $      81.00
      261    MEJ       4/21/2008 Update with MF                                                0.20   $     405.00   $      81.00
      262    MEJ       4/21/2008 Emails with HK                                                0.10   $     405.00   $      40.50
      263    MEJ       4/21/2008 Discussion with MF re: DS, Liq analysis, HIG                  0.60   $     405.00   $     243.00
      264    MEJ       4/21/2008 Follow-up for JH Cohn                                         0.40   $     405.00   $     162.00
      265    MEJ       4/21/2008 Intercompany update                                           0.30   $     405.00   $     121.50
      266    VJC       4/21/2008 Prepare information for Committee                             1.20   $     405.00   $     486.00
      267    MAK       4/22/2008 Revise cash flow scorecard                                    0.80   $     245.00   $     196.00
    Case 08-14631-GMB                  Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                          Desc
                                             Exhibit A Page 14 of 35


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For the Period:                                          3/31/08 thru 4/27/08



  Entry                                                                                             Hourly   Professional
 Number Employee           Date                            Description                 Hours         Rate        Fees
      268 MAK             4/22/2008 Continue cash flow scorecard                         0.90   $     245.00 $    220.50
      269 MAK             4/22/2008 Finalize cash flow scorecard                         1.10   $     245.00 $    269.50
      270 MEJ             4/22/2008 Conference call with Cozen                           1.50   $     405.00 $    607.50
      271 MEJ             4/22/2008 Review week #5 cf                                    0.40   $     405.00 $    162.00
      272 MEJ             4/22/2008 Respond to DS items                                  0.20   $     405.00 $      81.00
      273 MEJ             4/22/2008 Review Committee email                               0.30   $     405.00 $     121.50
      274 MAK             4/23/2008 Prepare rolling 13-week cash flow                    1.90   $     245.00 $     465.50
      275 MAK             4/23/2008 Continue rolling 13-week cash flow                   1.30   $     245.00 $     318.50
      276 MAK             4/23/2008 Prepare rolling 13-week cash flow                    0.80   $     245.00 $     196.00
      277 MAK             4/23/2008 Continue rolling 13-week cash flow                   1.30   $     245.00 $     318.50
      278 MAK             4/23/2008 Finalize rolling 13-week cash flow                   0.60   $     245.00 $     147.00
      279 MEJ             4/23/2008 Review JH Cohn questions re: CF Rollforward          2.00   $     405.00 $     810.00
      280 MEJ             4/23/2008 Update with PS                                       0.30   $     405.00 $     121.50
      281 MEJ             4/23/2008 Conf Call with Howard                                1.50   $     405.00 $     607.50
      282 MEJ             4/23/2008 emails re: HIG follow-up                             0.40   $     405.00 $     162.00
      283 MEJ             4/23/2008 Discussion with Howard re: Versa expense reimb       0.40   $     405.00 $     162.00
      284 MEJ             4/23/2008 DG re: union update                                  0.30   $     405.00 $     121.50
      285 MEJ             4/23/2008 Review week #5 scorecard                             1.30   $     405.00 $     526.50
      286 MEJ             4/23/2008 Info for JH Cohn                                     0.30   $     405.00 $     121.50
      287 MEJ             4/23/2008 Conference call with Cozen                           1.00   $     405.00 $     405.00
      288 MEJ             4/23/2008 Begin review of DS                                   0.70   $     405.00 $     283.50
      289 MEJ             4/24/2008 Continue review of DS, Plan and Bid Procedures       1.10   $     405.00 $     445.50
      290 MEJ             4/24/2008 Review motions and objections                        0.40   $     405.00 $     162.00
      291 MEJ             4/24/2008 Conference call with Cozen re: DS and Plan           1.50   $     405.00 $     607.50
      292 MEJ             4/24/2008 Review Jan/Feb Financials for DS                     0.30   $     405.00 $     121.50
      293 MEJ             4/24/2008 Prepare/provide numbers for DS                       0.90   $     405.00 $     364.50
      294 MEJ             4/24/2008 Discussions/emails with Joel re: DS                  0.10   $     405.00 $      40.50
      295 MEJ             4/24/2008 Review disbursements                                 0.40   $     405.00 $     162.00
      296 MEJ             4/24/2008 Discussion with Irv re: week #5                      0.40   $     405.00 $     162.00
      297 MEJ             4/24/2008 Various infor requests for HIG/Committee             0.40   $     405.00 $     162.00
      298 MEJ             4/24/2008 Discussion with MF                                   0.30   $     405.00 $     121.50
      299 MEJ             4/24/2008 DS review and updates                                0.80   $     405.00 $     324.00
      300 MEJ             4/25/2008 Print and review filed plan, ds, etc                 0.50   $     405.00 $     202.50
      301 MEJ             4/25/2008 Review sun capital docs                              0.20   $     405.00 $      81.00
      302 MEJ             4/25/2008 Prepare jan/feb financials for JH Cohn               0.90   $     405.00 $     364.50
      303 MEJ             4/25/2008 Review/analyze Centre forecast for JH Cohn           1.40   $     405.00 $     567.00
      304 MEJ             4/25/2008 Discussion with Howard re: DS                        0.60   $     405.00 $     243.00
      305 MEJ             4/25/2008 Discussion with Howard re: Professional Fees         0.20   $     405.00 $      81.00
      306 MEJ             4/25/2008 Update analysis re: professional fees                0.30   $     405.00 $     121.50
      307 MEJ             4/25/2008 Update with PS                                       0.20   $     405.00 $      81.00
      308 MEJ             4/25/2008 Review avail and cf                                  0.30   $     405.00 $     121.50
      309 MEJ             4/27/2008 Update Pro Forma Balance Sheet for new DS items      0.70   $     405.00 $     283.50
                                    Prepare and review information for Deposition on
       310     VJC        4/27/2008 Tuesday and Court Hearing on Thursday                2.10   $     405.00   $      850.50

Total - 2nd Fee Application                                                            301.00                      101,425.00
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 15 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                               Hourly     Professional
 Number Employee        Date                          Description                        Hours         Rate          Fees

        1    MAK       4/28/2008 Begin cash flow scorecard                                 1.60   $     245.00   $    392.00
        2    MAK       4/28/2008 Prepare cash flow scorecard                               0.70   $     245.00   $    171.50
        3    MAK       4/28/2008 Continue cash flow scorecard                              1.10   $     245.00   $    269.50
        4    MEJ       4/28/2008 Various emails re: HIG                                    0.30   $     405.00   $    121.50
        5    MEJ       4/28/2008 Discussion with MK re: CF                                 0.10   $     405.00   $     40.50
        6    MEJ       4/28/2008 Review DIP Loan Docs                                      0.60   $     405.00   $    243.00
        7    MEJ       4/28/2008 Discussion with MK re: various                            0.50   $     405.00   $    202.50
        8    MEJ       4/28/2008 Review Week #6 Scorecard                                  0.40   $     405.00   $    162.00
        9    MAK       4/29/2008 Revise cash flow scorecard                                0.60   $     245.00   $    147.00
       10    MAK       4/29/2008 Continue cash flow scorecard                              0.80   $     245.00   $    196.00
       11    MAK       4/29/2008 Finalize cash flow scorecard                              1.30   $     245.00   $    318.50
       12    MAK       4/29/2008 Prepare rolling 13-week cash flow                         2.10   $     245.00   $    514.50
       13    MAK       4/29/2008 Continue rolling 13-week cash flow                        1.10   $     245.00   $    269.50
       14    MAK       4/29/2008 Prepare rolling 13-week cash flow                         0.60   $     245.00   $    147.00
       15    MAK       4/29/2008 Continue rolling 13-week cash flow                        0.90   $     245.00   $    220.50
       16    MAK       4/29/2008 Finalize rolling 13-week cash flow                        0.90   $     245.00   $    220.50
       17    MEJ       4/29/2008 Discussion with Joel re: DS                               0.30   $     405.00   $    121.50
       18    MEJ       4/29/2008 Update with PS                                            0.40   $     405.00   $    162.00
       19    MEJ       4/29/2008 Review availability                                       0.20   $     405.00   $     81.00
       20    MEJ       4/29/2008 Review deposition support                                 0.30   $     405.00   $    121.50
       21    MEJ       4/29/2008 Review various DS objections                              0.50   $     405.00   $    202.50
       22    MEJ       4/29/2008 Develop list of Warehouseman liens                        0.60   $     405.00   $    243.00
       23    MEJ       4/29/2008 Review revised DS                                         0.30   $     405.00   $    121.50
       24    MEJ       4/29/2008 Review Committee motions                                  0.30   $     405.00   $    121.50
       25    MEJ       4/29/2008 Begin review of Transcript from Depositions               0.90   $     405.00   $    364.50
       26    MEJ       4/29/2008 Review HIG Term Loan Docs                                 0.20   $     405.00   $     81.00
       27    MEJ       4/29/2008 Review HIG Plan                                           0.80   $     405.00   $    324.00
       28    VJC       4/29/2008 Prepare for Deposition w/Committee                        1.50   $     405.00   $    607.50
                                 Continue review of HIG T/L and Plan - comparison with
       29    MEJ       4/30/2008 Versa                                                     1.70   $     405.00   $    688.50
       30    MEJ       4/30/2008 Updated with Vince                                        0.50   $     405.00   $    202.50
       31    MEJ       4/30/2008 Discussion with Howard                                    0.10   $     405.00   $     40.50
       32    MEJ       4/30/2008 Discussion with Vince                                     0.10   $     405.00   $     40.50
       33    MEJ       4/30/2008 Discussion with MF                                        0.30   $     405.00   $    121.50
                                 Conference call with Cozen et al re: Game Plan for
       34    MEJ       4/30/2008 Thurs hearing; review HIG docs, etc                       4.20   $     405.00   $   1,701.00
       35    MEJ       4/30/2008 Review transcripts from deposition                        0.40   $     405.00   $     162.00
                                 Prepare and review information for Deposition
       36    VJC       4/30/2008 w/counsel.                                                3.50   $     405.00   $   1,417.50
       37    VJC       4/30/2008 Give Deposition                                           5.25   $     405.00   $   2,126.25
       38    VJC       4/30/2008 Discussions w/counsel after deposition                    1.25   $     405.00   $     506.25
       39    MEJ        5/1/2008 Continue review of transcripts from depositions           0.90   $     405.00   $     364.50
       40    MEJ        5/1/2008 Update with VC                                            0.40   $     405.00   $     162.00
       41    MEJ        5/1/2008 Meeting at Cozen, Day in Court                           10.20   $     405.00   $   4,131.00
       42    VJC        5/1/2008 Prepare for court w/counsel                               2.00   $     405.00   $     810.00
       43    VJC        5/1/2008 Discussions re settlement at Court                        8.50   $     405.00   $   3,442.50
       44    MAK        5/2/2008 Begin prep revised 13-week DIP model for HIG              2.80   $     245.00   $     686.00
       45    MAK        5/2/2008 Continue prep revised 13-week DIP model for HIG           2.10   $     245.00   $     514.50
       46    MAK        5/2/2008 Prep revised 13-week DIP model for HIG                    2.30   $     245.00   $     563.50
                                 Begin prep cash receipts & disbursements schedule for
       47    MAK        5/2/2008 court filing                                              1.70   $     245.00   $    416.50




                                                            Page 1 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 16 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                               Hourly     Professional
 Number Employee        Date                          Description                        Hours         Rate          Fees

       48    MEJ        5/2/2008 Review various docs, including loan agreements, order     2.20   $     405.00   $    891.00
       49    MEJ        5/2/2008 Review JHC's budget revisions/suggestions                 0.50   $     405.00   $    202.50
       50    MEJ        5/2/2008 Update with MF                                            0.40   $     405.00   $    162.00
       51    MEJ        5/2/2008 Discussion with HK                                        0.20   $     405.00   $     81.00
       52    MEJ        5/2/2008 Update CF                                                 1.80   $     405.00   $    729.00
       53    MEJ        5/2/2008 Continue review of loan docs                              0.90   $     405.00   $    364.50
       54    MEJ        5/2/2008 Review/revise Competitive Bid Process                     0.40   $     405.00   $    162.00
       55    MEJ        5/2/2008 Review Schedules to HIG docs                              1.00   $     405.00   $    405.00
       56    MEJ        5/3/2008 Various emails re: HIG                                    0.30   $     405.00   $    121.50
       57    MEJ        5/4/2008 Conference call with Sean and Howard                      1.80   $     405.00   $    729.00
       58    MEJ        5/4/2008 Provide follow-up information (Sean and MK)               0.50   $     405.00   $    202.50
       59    MAK        5/5/2008 Begin cash flow scorecard                                 0.90   $     245.00   $    220.50
       60    MAK        5/5/2008 Prepare cash flow scorecard                               1.10   $     245.00   $    269.50
       61    MAK        5/5/2008 Continue cash flow scorecard                              1.10   $     245.00   $    269.50
       62    MEJ        5/5/2008 email to mf re: Sean                                      0.10   $     405.00   $     40.50
       63    MEJ        5/5/2008 Review order and agreement                                0.40   $     405.00   $    162.00
       64    MEJ        5/5/2008 Discussion with HK re: Sean                               0.20   $     405.00   $     81.00
       65    MEJ        5/5/2008 Various emails re: interim budget                         0.30   $     405.00   $    121.50
       66    MEJ        5/5/2008 Finalize interim budget                                   0.40   $     405.00   $    162.00
       67    MEJ        5/5/2008 Discussion with MF re: status                             0.30   $     405.00   $    121.50
       68    MAK        5/6/2008 Revise cash flow scorecard                                0.60   $     245.00   $    147.00
       69    MAK        5/6/2008 Continue cash flow scorecard                              1.10   $     245.00   $    269.50
       70    MAK        5/6/2008 Finalize cash flow scorecard                              1.10   $     245.00   $    269.50
       71    MAK        5/6/2008 Prepare rolling 13-week cash flow                         0.80   $     245.00   $    196.00
       72    MAK        5/6/2008 Continue rolling 13-week cash flow                        0.70   $     245.00   $    171.50
       73    MAK        5/6/2008 Prepare rolling 13-week cash flow                         0.70   $     245.00   $    171.50
       74    MAK        5/6/2008 Continue rolling 13-week cash flow                        3.70   $     245.00   $    906.50
       75    MAK        5/6/2008 Continue rolling 13-week cash flow                        3.10   $     245.00   $    759.50
       76    MEJ        5/6/2008 Review HIG Loan Docs                                      0.40   $     405.00   $    162.00
       77    MEJ        5/6/2008 Analyze Section 8.20 © and send email to CIT              0.50   $     405.00   $    202.50
       78    MEJ        5/6/2008 Review HIG Order                                          0.40   $     405.00   $    162.00
       79    MEJ        5/6/2008 Review Assignment Agreement and confirm payout            0.70   $     405.00   $    283.50
       80    MEJ        5/6/2008 Review CIT Order                                          0.40   $     405.00   $    162.00
       81    MEJ        5/6/2008 Discussion with PS re: various                            0.30   $     405.00   $    121.50
       82    MEJ        5/6/2008 Discussion with Bernie and HK re: Section 8.20 (c         0.40   $     405.00   $    162.00
       83    MEJ        5/6/2008 More review of Assignment Agreement and payout            0.90   $     405.00   $    364.50
       84    MEJ        5/6/2008 Discussion with Xroads                                    0.50   $     405.00   $    202.50
       85    MEJ        5/6/2008 Prepare Information for Xroads                            1.40   $     405.00   $    567.00
       86    MEJ        5/6/2008 Discussions with MF                                       0.50   $     405.00   $    202.50
       87    MEJ        5/6/2008 Discussion with HK re: Sean                               0.30   $     405.00   $    121.50
       88    MEJ        5/6/2008 Discussion with Steve and Paul                            0.40   $     405.00   $    162.00
       89    MEJ        5/6/2008 Review Week #7 Scorecard                                  1.20   $     405.00   $    486.00
       90    MEJ        5/6/2008 Review Week #7 Rollforward                                1.30   $     405.00   $    526.50
       91    MEJ        5/6/2008 Conversations with HK re: 12 or 13 weeks                  0.60   $     405.00   $    243.00
       92    MEJ        5/6/2008 Review loan - "Budget" definition                         0.20   $     405.00   $     81.00
       93    MEJ        5/6/2008 Review 8.20 c                                             0.10   $     405.00   $     40.50

       94    MEJ        5/6/2008 Conference call with MF, HK, Cole re: 12 or 13 weeks      0.40   $     405.00   $    162.00
       95    MEJ        5/6/2008 Follow-up email to SG and PS                              0.20   $     405.00   $     81.00
       96    MAK        5/7/2008 Continue revised 13-week DIP model for HIG                3.10   $     245.00   $    759.50
       97    MAK        5/7/2008 Prep for meeting with Xroads                              2.10   $     245.00   $    514.50




                                                            Page 2 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 17 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                               Hourly     Professional
 Number Employee        Date                          Description                        Hours         Rate          Fees
                                 Meeting with Xroads and JH Cohn to go over Shapes,
                                 Delair, Accu-Weld and Ultra businesses and to review
       98    MAK        5/7/2008 original DIP model                                        4.40   $     245.00   $   1,078.00
       99    MAK        5/7/2008 Prep material for HIG and Xroads                          1.60   $     245.00   $     392.00
      100    MEJ        5/7/2008 Emails to PS, MK                                          0.20   $     405.00   $      81.00
      101    MEJ        5/7/2008 Discussion with MF re: 12 or 13 weeks                     0.40   $     405.00   $     162.00
      102    MEJ        5/7/2008 Meetings with Xroads                                      4.50   $     405.00   $   1,822.50
      103    MEJ        5/7/2008 Conference call with Cozen and GT                         0.80   $     405.00   $     324.00
      104    MEJ        5/7/2008 Follow-up from conference call                            0.80   $     405.00   $     324.00
      105    MEJ        5/7/2008 Float analysis                                            0.40   $     405.00   $     162.00
      106    MEJ        5/7/2008 Update with MK                                            0.20   $     405.00   $      81.00
      107    MEJ        5/7/2008 Discussion with MF re: 13                                 0.10   $     405.00   $      40.50

      108    MEJ        5/7/2008 Review and comment on Phoenix retention amendment         0.10   $     405.00   $     40.50
      109    MEJ        5/7/2008 Bridge for 13 week cf for Xroads                          0.80   $     405.00   $    324.00
      110    VJC        5/7/2008 Work on amending Affidavit                                1.30   $     405.00   $    526.50
                                 Work on amending Affidavit. Conference call with
      111    VJC        5/7/2008 debtor's counsel re Supplement.                           1.00   $     405.00   $    405.00
      112    MAK        5/8/2008 Prep material for HIG and Xroads                          1.90   $     245.00   $    465.50
                                 Meeting with HIG, Xroads and JH Cohn to go over the
                                 businesses and to review the interim and proposed DIP
      113    MAK        5/8/2008 budgets                                                   6.90   $     245.00   $   1,690.50
      114    MAK        5/8/2008 Prep material for HIG and Xroads                          1.80   $     245.00   $     441.00
      115    MEJ        5/8/2008 Review cash flows                                         0.60   $     405.00   $     243.00
      116    MEJ        5/8/2008 Discussion with PS re: accounting and MORs                0.70   $     405.00   $     283.50
      117    MEJ        5/8/2008 Review CF Bridge with MK                                  1.40   $     405.00   $     567.00
      118    MEJ        5/8/2008 Discussion with Craig from HIG                            0.40   $     405.00   $     162.00
      119    MEJ        5/8/2008 Discussions with JP, VC re: Affidavit                     0.10   $     405.00   $      40.50
      120    MEJ        5/8/2008 Meetings with Xroads                                      4.20   $     405.00   $   1,701.00
      121    MEJ        5/8/2008 Discussion with HK re: Meetings with xroads               0.40   $     405.00   $     162.00
                                 Meeting with HIG, Xroads and JH Cohn to go over the
                                 businesses and continue to review the interim and
      122    MAK        5/9/2008 proposed DIP budgets                                      6.60   $     245.00   $   1,617.00
      123    MAK        5/9/2008 Prep material for HIG and Xroads                          2.10   $     245.00   $     514.50
      124    MEJ        5/9/2008 Review Committee comments to Plan/DS                      1.60   $     405.00   $     648.00
      125    MEJ        5/9/2008 Discussion with PS re: Cap Ex                             0.20   $     405.00   $      81.00
      126    MEJ        5/9/2008 Review/analyze info for HIG                               1.40   $     405.00   $     567.00
      127    MEJ        5/9/2008 Discussion with PS re: Cap Ex/Union                       0.20   $     405.00   $      81.00
      128    MEJ        5/9/2008 Review of Delair A/R                                      0.20   $     405.00   $      81.00
      129    MEJ        5/9/2008 Meetings with HIG/Xroads                                  3.20   $     405.00   $   1,296.00
      130    MEJ        5/9/2008 Review motion re: Sales process                           0.40   $     405.00   $     162.00
      131    MEJ        5/9/2008 Discussion with JP re:Motion                              0.20   $     405.00   $      81.00
      132    MEJ        5/9/2008 Review union calculator with DG                           0.50   $     405.00   $     202.50
      133    MEJ        5/9/2008 Discussion with HK                                        0.40   $     405.00   $     162.00
      134    MEJ        5/9/2008 Continued meetings with HIG/Xroads                        2.20   $     405.00   $     891.00
      135    MEJ        5/9/2008 Review/analyze Backlog                                    0.30   $     405.00   $     121.50
      136    MEJ        5/9/2008 More union review; discussion with GF                     0.40   $     405.00   $     162.00
      137    MEJ        5/9/2008 Update pro forma balance sheet                            1.20   $     405.00   $     486.00
      138    MEJ       5/10/2008 Conference call with Cozen, SSG                           1.10   $     405.00   $     445.50
      139    MEJ       5/10/2008 Update pro forma balance sheet for JH Cohn                0.30   $     405.00   $     121.50
      140    MEJ       5/10/2008 Various emails re: Competitive Process                    0.30   $     405.00   $     121.50
                                 Review GT drafts of Competitive Process Motion and
      141    MEJ       5/11/2008 Plan                                                      0.60   $     405.00   $    243.00



                                                            Page 3 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                           Exhibit A Page 18 of 35


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Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                                Hourly     Professional
 Number Employee        Date                          Description                         Hours         Rate          Fees
                                 Update pro forma balance sheet and commu nicate
      142    MEJ       5/11/2008 same to HIG                                                0.30   $     405.00   $    121.50
                                 Prep and begin collection of information with Mr. Dave
                                 Gollin for Collective Bargaining Agreement Calculator
      143     GF       5/12/2008 and Recaps                                                 1.50   $     155.00   $    232.50
                                 Review Collective Bargaining Agreement and design
      144     GF       5/12/2008 Recaps.                                                    5.50   $     155.00   $    852.50
                                 Prepare Collective Bargaining Agreement Calculator
      145    GF        5/12/2008 and Recaps                                                 2.40   $     155.00   $    372.00
      146    MAK       5/12/2008 Begin cash flow scorecard                                  1.10   $     245.00   $    269.50
      147    MAK       5/12/2008 Prepare cash flow scorecard                                0.90   $     245.00   $    220.50
      148    MAK       5/12/2008 Continue cash flow scorecard                               1.70   $     245.00   $    416.50
      149    MAK       5/12/2008 Prep info for HIG and XRoads                               2.10   $     245.00   $    514.50
      150    MAK       5/12/2008 Continue prep info for HIG and XRoads                      1.70   $     245.00   $    416.50
      151    MAK       5/12/2008 Revise cash flow scorecard                                 0.40   $     245.00   $     98.00
      152    MAK       5/12/2008 Continue cash flow scorecard                               2.30   $     245.00   $    563.50
      153    MEJ       5/12/2008 Review GT Plan                                             0.80   $     405.00   $    324.00
      154    MEJ       5/12/2008 Memo re: $90 million Cap                                   1.20   $     405.00   $    486.00
      155    MEJ       5/12/2008 Discussion with MF re: Cap                                 0.10   $     405.00   $     40.50
      156    MEJ       5/12/2008 Discussion with HK re: Cap                                 0.10   $     405.00   $     40.50
      157    MEJ       5/12/2008 Discussion with GF re: Union                               0.10   $     405.00   $     40.50
      158    MEJ       5/12/2008 Discussion with HK re: Cap                                 0.60   $     405.00   $    243.00
      159    MEJ       5/12/2008 Provide DS info for MF                                     0.20   $     405.00   $     81.00
      160    MEJ       5/12/2008 Review Procedures Motion                                   0.30   $     405.00   $    121.50
      161    MEJ       5/12/2008 Discussion with Irv re: Xroads                             0.20   $     405.00   $     81.00
      162    MEJ       5/12/2008 Update pro forma balance sheet                             0.20   $     405.00   $     81.00
      163    MEJ       5/12/2008 Discussion with HK re: Cap                                 0.30   $     405.00   $    121.50
                                 Conference call with MF and SG re: cap and various
      164    MEJ       5/12/2008 other issues                                               0.80   $     405.00   $    324.00
      165    MEJ       5/12/2008 Discussion with HK re: Cap                                 0.30   $     405.00   $    121.50
      166    MEJ       5/12/2008 Discussion with Sean re: Cap                               0.60   $     405.00   $    243.00
      167    MEJ       5/12/2008 Discussion with MF re: Cap                                 0.30   $     405.00   $    121.50
                                 Multiple emails and conversations with JH Cohn, MF re:
      168    MEJ       5/12/2008 Cap and funding issues                                     1.40   $     405.00   $    567.00
                                 Review, discuss and analyze plan funding commitment
      169    MEJ       5/12/2008 issues                                                     1.10   $     405.00   $    445.50
      170    MEJ       5/12/2008 Discussion with MF re: DS items                            0.20   $     405.00   $     81.00
                                 Continue collection of new information with Mr. Dave
                                 Gollin for Collective Bargaining Agreement Calculator
      171    GF        5/13/2008 and Recaps.                                                0.50   $     155.00   $     77.50
      172    GF        5/13/2008 Revise Collective Bargaining Agreement and Recaps          1.50   $     155.00   $    232.50
      173    GF        5/13/2008 Begin Accounts Receivable analysis.                        2.20   $     155.00   $    341.00
      174    GF        5/13/2008 Prepare Accounts Receivable analysis                       5.30   $     155.00   $    821.50
      175    MAK       5/13/2008 Finalize cash flow scorecard                               1.10   $     245.00   $    269.50
                                 Review revised DIP budget with HIG, Xroads and JH
      176    MAK       5/13/2008 Cohn                                                       1.70   $     245.00   $    416.50
                                 Review proforma balance sheet with HIG, Xroads and
      177    MAK       5/13/2008 JH Cohn                                                    1.90   $     245.00   $    465.50
      178    MAK       5/13/2008 Review Shapes A/R and backlog info                         1.10   $     245.00   $    269.50
      179    MAK       5/13/2008 Review EBITDA bridge analysis                              0.80   $     245.00   $    196.00
      180    MAK       5/13/2008 Prep info for HIG and XRoads                               1.40   $     245.00   $    343.00
      181    MAK       5/13/2008 Continue review EBITDA bridge                              0.60   $     245.00   $    147.00
      182    MAK       5/13/2008 Continue prep info for HIG and XRoads                      1.30   $     245.00   $    318.50



                                                            Page 4 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                 Desc
                                           Exhibit A Page 19 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                                 Hourly   Professional
 Number Employee        Date                           Description                           Hours       Rate        Fees
      183 MEJ          5/13/2008 Review filed docs                                             1.40   $   405.00 $    567.00

      184    MEJ       5/13/2008 Begin bridge of 13 week Cf to monthly financial forecast      0.60   $    405.00   $     243.00
      185    MEJ       5/13/2008 Update with PS and SG re: Cap and filing                      1.40   $    405.00   $     567.00
      186    MEJ       5/13/2008 Discussion with HK re: Cap and Xroads                         0.90   $    405.00   $     364.50
      187    MEJ       5/13/2008 Discussion with Craig re: Due Diligence                       0.40   $    405.00   $     162.00
      188    MEJ       5/13/2008 Review and analysis of A/r                                    0.60   $    405.00   $     243.00
      189    MEJ       5/13/2008 Information request for HIG/Xroads                            0.90   $    405.00   $     364.50
      190    MEJ       5/13/2008 Review Week #8 Scorecard                                      0.60   $    405.00   $     243.00
      191    MEJ       5/13/2008 Review and revise pro forma balance sheet                     0.70   $    405.00   $     283.50
      192    MEJ       5/13/2008 Continued due diligence with HIG/Xroads                       4.20   $    405.00   $   1,701.00
      193    MEJ       5/13/2008 Conference call with HIG/JHC                                  1.30   $    405.00   $     526.50
      194    MEJ       5/13/2008 Discussion with SG and HIG re: Business issues                1.10   $    405.00   $     445.50
      195    MEJ       5/13/2008 Discussion with HK re: HIG and info                           0.50   $    405.00   $     202.50
      196    GF        5/14/2008 Continue Accounts Receivable analysis                         3.30   $    155.00   $     511.50
      197    GF        5/14/2008 Finalize Accounts Receivable Analysis                         1.30   $    155.00   $     201.50
                                 Continue Collective Bargaining Agreement Calculator
      198    GF        5/14/2008 and Recaps.                                                   5.50   $    155.00   $    852.50
      199    MAK       5/14/2008 Prep rolling 13-week cash flow                                2.10   $    245.00   $    514.50
                                 Conference with HIG and XRoads re Week #8
      200    MAK       5/14/2008 scorecard                                                     1.60   $    245.00   $    392.00
      201    MAK       5/14/2008 Continue rolling 13-week cash flow                            1.80   $    245.00   $    441.00
      202    MAK       5/14/2008 Prep info for HIG and XRoads                                  1.10   $    245.00   $    269.50
      203    MAK       5/14/2008 Prepare rolling 13-week cash flow                             1.70   $    245.00   $    416.50
      204    MAK       5/14/2008 Continue prep info for HIG and XRoads                         1.10   $    245.00   $    269.50
      205    MAK       5/14/2008 Continue rolling 13-week cash flow                            1.20   $    245.00   $    294.00
      206    MEJ       5/14/2008 Various follow-up emails and analysis for Xroads              0.80   $    405.00   $    324.00
      207    MEJ       5/14/2008 Review and analyze Delair backlog                             0.30   $    405.00   $    121.50
      208    MEJ       5/14/2008 Begin preparation of Executory Contracts                      0.30   $    405.00   $    121.50
      209    MEJ       5/14/2008 Prepare for Conference Call with Xroads and HIG               1.00   $    405.00   $    405.00

      210    MEJ       5/14/2008 Review Week 8 Scorecard and Budget with PS and MK             1.60   $    405.00   $    648.00
      211    MEJ       5/14/2008 Conference call with Xroads and HIG re: Collections           1.00   $    405.00   $    405.00
      212    MEJ       5/14/2008 Conference call with MF and DG re: Due Diligence              0.60   $    405.00   $    243.00
      213    MEJ       5/14/2008 Analysis of A/R at Shapes                                     0.80   $    405.00   $    324.00
                                 Review Committee analysis of 503(b)(9) claims; discuss
      214    MEJ       5/14/2008 with PS; discuss with Irv                                     0.70   $    405.00   $    283.50

      215    MEJ       5/14/2008 Ongoing discussions with HIG re: due diligence items          1.20   $    405.00   $    486.00
                                 Review Bridge analysis with MK, PS, revise and send to
      216    MEJ       5/14/2008 HIG/Xroads                                                    0.90   $    405.00   $    364.50
      217    MEJ       5/14/2008 Discuss HIG's request re: E&Y with PS                         0.30   $    405.00   $    121.50
      218    MEJ       5/14/2008 Conference call with Xroads re: Week 8 Scorecard              0.70   $    405.00   $    283.50
      219    MEJ       5/14/2008 Conference call with Cozen, etc re: Labor strategy            0.80   $    405.00   $    324.00
                                 Begin collection of information on Trucking Unit with Mr.
                                 Dave Gollin for Collective Bargaining Agreement
      220     GF       5/15/2008 Calculator and Recaps                                         0.40   $    155.00   $     62.00
                                 Continue Collective Bargaining Agreement Calculator
      221     GF       5/15/2008 and Recaps.                                                   4.50   $    155.00   $    697.50
                                 Build Accu-Weld Trucking Collective Bargaining
      222     GF       5/15/2008 Agreement Calculator and Recap                                2.30   $    155.00   $    356.50
                                 Review All Collective Bargaining Agreement Calculator
      223     GF       5/15/2008 and Recaps                                                    1.50   $    155.00   $    232.50



                                                              Page 5 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                 Desc
                                           Exhibit A Page 20 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                                  Hourly     Professional
 Number Employee        Date                           Description                          Hours         Rate          Fees
                                 Finalize Collective Bargaining Agreement Calculator
      224    GF        5/15/2008 and Recaps.                                                  1.10   $     155.00   $    170.50
      225    MAK       5/15/2008 Prep rolling 13-week cash flow                               2.30   $     245.00   $    563.50
      226    MAK       5/15/2008 Prep executory contract info for BK filings                  1.90   $     245.00   $    465.50
      227    MAK       5/15/2008 Prep pension, health & welfare info for BK filings           1.80   $     245.00   $    441.00
      228    MAK       5/15/2008 Continue prep executory contract info for BK filings         1.10   $     245.00   $    269.50
                                 Continue prep pension, health & welfare info for BK
      229    MAK       5/15/2008 filings                                                      0.90   $     245.00   $    220.50
      230    MAK       5/15/2008 Prep revised DIP budget                                      1.30   $     245.00   $    318.50
                                 Conference call with HIG, Xroads and JH Cohn to
      231    MAK       5/15/2008 review an discuss interim DIP budget                         1.80   $     245.00   $    441.00
      232    MEJ       5/15/2008 Discussion with HK re: HIG and Bridge                        0.30   $     405.00   $    121.50
      233    MEJ       5/15/2008 Discussion with MF re: Cap                                   0.30   $     405.00   $    121.50
      234    MEJ       5/15/2008 Discussion with HK and Irv re: CF                            0.40   $     405.00   $    162.00
      235    MEJ       5/15/2008 Discussion with PS re: Ultra inventory                       0.20   $     405.00   $     81.00
      236    MEJ       5/15/2008 Discussion with Rob Munin re: Ultra Inventory                0.10   $     405.00   $     40.50
      237    MEJ       5/15/2008 Review executory contract listing                            0.20   $     405.00   $     81.00
      238    MEJ       5/15/2008 Update with MK re: Executory contracts                       0.10   $     405.00   $     40.50
      239    MEJ       5/15/2008 Prepare for Conference Call with Xroads and HIG              0.40   $     405.00   $    162.00
                                 Conference call with HIG, Xroads and JHC re Xroads
      240    MEJ       5/15/2008 Point of View                                                1.20   $     405.00   $    486.00
      241    MEJ       5/15/2008 Conf Call Follow-up with MK                                  0.20   $     405.00   $     81.00
      242    MEJ       5/15/2008 Conf Call Follow-up with HK                                  0.30   $     405.00   $    121.50
      243    MEJ       5/15/2008 email to Felger re Conf Call                                 0.10   $     405.00   $     40.50
                                 Review and update executory contracts with Mr. Grabell
      244    MAK       5/16/2008 and Sorensen                                                 0.80   $     245.00   $    196.00
      245    MAK       5/16/2008 Update executory contract analysis                           0.50   $     245.00   $    122.50
      246    MAK       5/16/2008 Prep analysis of Delair Pool and Fence sales                 1.10   $     245.00   $    269.50
      247    MAK       5/16/2008 Prep revised DIP budget                                      2.10   $     245.00   $    514.50
      248    MAK       5/16/2008 Prep Week #9 daily template scorecard                        0.50   $     245.00   $    122.50
      249    MAK       5/16/2008 Prep info for HIG and XRoads                                 1.70   $     245.00   $    416.50
      250    MAK       5/16/2008 Prep revised DIP budget                                      0.80   $     245.00   $    196.00
      251    MAK       5/16/2008 Continue prep info for HIG and XRoads                        0.90   $     245.00   $    220.50
      252    MEJ       5/16/2008 email to Sean re: Follow up from conf call                   0.10   $     405.00   $     40.50
      253    MEJ       5/16/2008 Review HIG info                                              0.40   $     405.00   $    162.00
      254    MEJ       5/16/2008 Review Union calculation                                     0.80   $     405.00   $    324.00
                                 Debrief with PS and SG re: Conference call, cap,
      255    MEJ       5/16/2008 budget                                                       0.70   $     405.00   $    283.50
      256    MEJ       5/16/2008 Discuss Executory Contracts with SG and PS                   0.70   $     405.00   $    283.50
      257    MEJ       5/16/2008 Begin review of UCC                                          0.30   $     405.00   $    121.50
      258    MEJ       5/16/2008 Conf Call with Davino re: "Change of Course"                 0.50   $     405.00   $    202.50
      259    MEJ       5/16/2008 Follow-up with MF re: Xroads Change                          0.50   $     405.00   $    202.50
      260    MEJ       5/16/2008 Discuss strategy re: cf revisions with PS                    0.40   $     405.00   $    162.00
                                 Finalize executory contract listing and send to MF, JHC,
      261    MEJ       5/16/2008 HIG                                                          0.60   $     405.00   $    243.00
      262    MEJ       5/16/2008 Detailed review of CF                                        2.20   $     405.00   $    891.00
      263    MEJ       5/16/2008 Discussion with Craig re: Xroads, E&Y                        0.30   $     405.00   $    121.50
                                 Conference call with Counsel re: Procedures Motion
      264    MEJ       5/16/2008 and Break-Up Fee                                             1.00   $     405.00   $    405.00
      265    MEJ       5/16/2008 Finalize review of UCC's                                     0.60   $     405.00   $    243.00
      266    MEJ       5/16/2008 Discussion with HK re: Xroads and Cap                        0.30   $     405.00   $    121.50
      267    MEJ       5/18/2008 Discussion with Sean re: Cap and go forward plans            0.60   $     405.00   $    243.00
      268    MEJ       5/18/2008 Follow up email re: same                                     0.20   $     405.00   $     81.00



                                                             Page 6 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                           Exhibit A Page 21 of 35


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Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                                Hourly   Professional
 Number Employee        Date                            Description                       Hours         Rate        Fees
      269 MAK          5/19/2008 Begin cash flow scorecard                                  2.10   $     245.00 $    514.50
      270 MAK          5/19/2008 Prepare cash flow scorecard                                0.80   $     245.00 $    196.00
      271 MAK          5/19/2008 Continue cash flow scorecard                               1.50   $     245.00 $    367.50
      272 MAK          5/19/2008 Prep info for HIG and XRoads                               0.80   $     245.00 $    196.00
      273 MAK          5/19/2008 Continue prep info for HIG and XRoads                      0.40   $     245.00 $     98.00
      274 MAK          5/19/2008 Revise cash flow scorecard                                 0.70   $     245.00 $    171.50
      275 MAK          5/19/2008 Finalize cash flow scorecard                               1.20   $     245.00 $    294.00
      276 MAK          5/19/2008 Prep info for March monthly operating report               2.90   $     245.00 $    710.50
                                 Emails and Follow-up analysis re: Emergence Funding
      277    MEJ       5/19/2008 Needs                                                      0.80   $     405.00   $    324.00
      278    MEJ       5/19/2008 Update with PS re: HIG/Xroads, MORS                        0.50   $     405.00   $    202.50
      279    MEJ       5/19/2008 Review Union H&W pre-petition liabs                        0.20   $     405.00   $     81.00
      280    MEJ       5/19/2008 Discussion with HK re: Xroads, Due Diligence               0.20   $     405.00   $     81.00
      281    MEJ       5/19/2008 Discussion with Adam re: Due Diligence                     0.20   $     405.00   $     81.00
      282    MEJ       5/19/2008 Professional Fee estimates for Greenberg                   0.30   $     405.00   $    121.50
      283    MEJ       5/19/2008 Backlog review/analysis                                    0.20   $     405.00   $     81.00
      284    MEJ       5/19/2008 Review CIT Order - inventory issue                         0.20   $     405.00   $     81.00
      285    MEJ       5/19/2008 Additional emails re: Professional Fees                    0.10   $     405.00   $     40.50
      286    MEJ       5/19/2008 Review emails for follow-up                                0.80   $     405.00   $    324.00

      287    MEJ       5/19/2008 Discussion with SG re: Status of case, HIG, Committee      0.40   $     405.00   $    162.00
      288    MEJ       5/19/2008 Discussion with Craig re: Due Diligence, E&Y, Xrods        0.30   $     405.00   $    121.50
      289    MEJ       5/19/2008 More Discussion with Craig re: Due Diligence list          0.20   $     405.00   $     81.00

      290    MEJ       5/19/2008 Discussion with Paul and SG re: HIG Due Diligence List     0.40   $     405.00   $    162.00
      291    MEJ       5/19/2008 Additional due diligence follow-up                         0.20   $     405.00   $     81.00
      292    MEJ       5/19/2008 Review Week #9 Scorecard                                   0.70   $     405.00   $    283.50
      293    MEJ       5/19/2008 Discussion with JP re: MORs                                0.10   $     405.00   $     40.50
      294    MEJ       5/19/2008 Discussion with HK re: HIG, Cap                            0.20   $     405.00   $     81.00
                                 Review GT proposal re: Cap; Incorporate into analysis
      295    MEJ       5/19/2008 and email to MF                                            0.50   $     405.00   $    202.50
                                 Review and prep info for March monthly operating
      296    MAK       5/20/2008 report                                                     3.10   $     245.00   $    759.50
                                 Continue review and prep info for March monthly
      297    MAK       5/20/2008 operating report                                           2.70   $     245.00   $    661.50
                                 Review and prep info for March monthly operating
      298    MAK       5/20/2008 report                                                     2.30   $     245.00   $    563.50
      299    MAK       5/20/2008 Begin 13-week CF rollforward                               1.70   $     245.00   $    416.50
      300    MEJ       5/20/2008 Due diligence for HIG                                      0.20   $     405.00   $     81.00
      301    MEJ       5/20/2008 prepare weekly a/r rollforwards                            1.10   $     405.00   $    445.50
      302    MEJ       5/20/2008 Discussion with PS re: Cap                                 0.20   $     405.00   $     81.00
      303    MEJ       5/20/2008 Discussion with MF re:GT proposal                          0.30   $     405.00   $    121.50
      304    MEJ       5/20/2008 Discussion with HK re: GT proposal                         0.20   $     405.00   $     81.00
      305    MEJ       5/20/2008 Review Ultra MOR                                           0.20   $     405.00   $     81.00
      306    MEJ       5/20/2008 Discuss Ultra MOR with PS                                  0.20   $     405.00   $     81.00
      307    MEJ       5/20/2008 Discuss Cap with HK                                        0.10   $     405.00   $     40.50
      308    MEJ       5/20/2008 Discuss MORs with PS and KR                                0.90   $     405.00   $    364.50
      309    MEJ       5/20/2008 Discussion with SG re: Due Diligence                       0.20   $     405.00   $     81.00
      310    MEJ       5/20/2008 Attend to HIG Due Diligence requests                       0.80   $     405.00   $    324.00
      311    MEJ       5/20/2008 Review availability and payments                           1.10   $     405.00   $    445.50
      312    MEJ       5/20/2008 Attend to HIG Due Diligence requests                       0.50   $     405.00   $    202.50
      313    MEJ       5/20/2008 Review utility spending and forecast                       0.40   $     405.00   $    162.00
      314    MEJ       5/20/2008 Review A/R for MORs                                        0.20   $     405.00   $     81.00



                                                            Page 7 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                Desc
                                           Exhibit A Page 22 of 35


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  Entry                                                                                                 Hourly     Professional
 Number Employee        Date                           Description                         Hours         Rate          Fees
                                 Meet with SG, SF and HIG re: Due Diligence, scrap,
      315    MEJ       5/20/2008 etc.                                                        2.30   $     405.00   $    931.50
      316    MEJ       5/20/2008 More review of MORs                                         1.20   $     405.00   $    486.00
      317    MEJ       5/20/2008 Discussion with MF re: Cap and DS                           0.50   $     405.00   $    202.50
      318    MEJ       5/20/2008 Discussion with HK re: Cap and DS                           0.30   $     405.00   $    121.50
      319    MEJ       5/20/2008 Attend to HIG Due Diligence requests                        0.20   $     405.00   $     81.00
      320    MEJ       5/20/2008 Discussion with SG re: case status and HIG                  0.60   $     405.00   $    243.00
                                 Review Committee proposal to GT; multiple emails with
      321    MEJ       5/20/2008 HK re: same                                                 0.30   $     405.00   $    121.50
      322    MEJ       5/20/2008 Prelim review of claims register                            0.20   $     405.00   $     81.00
                                 Review and prep info for March monthly operating
      323    MAK       5/21/2008 report                                                      2.70   $     245.00   $    661.50
      324    MAK       5/21/2008 Prep 13-week CF rollforward                                 2.40   $     245.00   $    588.00
                                 Continue review and prep info for March monthly
      325    MAK       5/21/2008 operating report                                            1.90   $     245.00   $    465.50
      326    MAK       5/21/2008 Continue prep 13-week CF rollforward                        2.60   $     245.00   $    637.00
      327    MEJ       5/21/2008 Detailed review of DS; provide comments                     2.20   $     405.00   $    891.00

      328    MEJ       5/21/2008 Discussion with HK re: Cap and Committee Proposal           0.20   $     405.00   $     81.00
      329    MEJ       5/21/2008 Review Balance Sheets from MORs                             0.40   $     405.00   $    162.00
                                 Discussion with JP re: Shapes/Arch presentation in
      330    MEJ       5/21/2008 MOR                                                         0.10   $     405.00   $     40.50
      331    MEJ       5/21/2008 Review Complete MOR package                                 0.90   $     405.00   $    364.50
      332    MEJ       5/21/2008 Review and analyze Week 9 CF Rollforward                    1.50   $     405.00   $    607.50
      333    MEJ       5/21/2008 Discussion with Chris Davino re: Xroads DD                  0.20   $     405.00   $     81.00
      334    MEJ       5/21/2008 Review Xroads Info Request                                  0.40   $     405.00   $    162.00
      335    MEJ       5/21/2008 Review Committee Proposal                                   0.20   $     405.00   $     81.00
      336    MEJ       5/21/2008 Review proposed language re: Cap                            0.20   $     405.00   $     81.00
      337    MEJ       5/21/2008 Discussion with JSV re: process                             0.20   $     405.00   $     81.00
      338    MEJ       5/21/2008 Discussion with HK re: cap                                  0.20   $     405.00   $     81.00
      339    MEJ       5/21/2008 Discussion with MF re: DS and Cap                           1.10   $     405.00   $    445.50
      340    MEJ       5/21/2008 Updated DIP Budget                                          0.80   $     405.00   $    324.00
      341    MEJ       5/21/2008 Discussion with MF re: DS and Cap                           0.70   $     405.00   $    283.50
      342    MEJ       5/21/2008 Update analysis re: cap                                     0.30   $     405.00   $    121.50
      343    MAK       5/22/2008 Prep 13-week CF rollforward                                 2.10   $     245.00   $    514.50

      344    MAK       5/22/2008 Review and prep info for April monthly operating report     3.40   $     245.00   $    833.00
                                 Continue review and prep info for April monthly
      345    MAK       5/22/2008 operating report                                            1.70   $     245.00   $    416.50
      346    MAK       5/22/2008 Continue prep 13-week CF rollforward                        1.60   $     245.00   $    392.00
      347    MEJ       5/22/2008 Conf Call with Nat City re: Update                          0.70   $     405.00   $    283.50
      348    MEJ       5/22/2008 Review DS                                                   0.30   $     405.00   $    121.50
      349    MEJ       5/22/2008 Update pro forma balance sheet                              0.50   $     405.00   $    202.50
      350    MEJ       5/22/2008 Discussion with PS re: Financial Projections                0.20   $     405.00   $     81.00
      351    MEJ       5/22/2008 Discussion with MF re: DS                                   0.10   $     405.00   $     40.50
      352    MEJ       5/22/2008 Review DS Order                                             0.60   $     405.00   $    243.00
      353    MEJ       5/22/2008 Review PS Forecast                                          0.20   $     405.00   $     81.00
      354    MEJ       5/22/2008 Discussion with PS re: Forecast                             0.20   $     405.00   $     81.00
      355    MEJ       5/22/2008 Update forecast for DS                                      0.30   $     405.00   $    121.50
      356    MEJ       5/22/2008 Review NM proposed language                                 0.20   $     405.00   $     81.00
      357    MEJ       5/22/2008 Discussion with HK re: NM Language                          0.30   $     405.00   $    121.50
      358    MEJ       5/22/2008 Discussion with MF re: NM language                          0.40   $     405.00   $    162.00
      359    MEJ       5/22/2008 Discussion with MF re: Fees                                 0.20   $     405.00   $     81.00



                                                             Page 8 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                           Exhibit A Page 23 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                          Description                          Hours       Rate        Fees
      360 MEJ          5/22/2008 Discussion with Brody re: Fees                              0.20   $   405.00 $     81.00
                                 Update pro forma bs and funding spreadsheet; send to
      361    MEJ       5/22/2008 HIG and JHC                                                 0.50   $    405.00   $    202.50
      362    MEJ       5/22/2008 Discussion with Rob Munin re: xroads dd                     0.10   $    405.00   $     40.50

      363    MAK       5/23/2008 Review and prep info for April monthly operating report     2.20   $    245.00   $    539.00
      364    MAK       5/23/2008 Review and prep info for estimated U.S. Trustee fees        1.40   $    245.00   $    343.00
      365    MAK       5/23/2008 Prep 13-week CF rollforward                                 0.80   $    245.00   $    196.00
                                 Continue review and prep info for April monthly
      366    MAK       5/23/2008 operating report                                            1.70   $    245.00   $     416.50
      367    MEJ       5/23/2008 Review Plan                                                 0.50   $    405.00   $     202.50
      368    MEJ       5/23/2008 Review UST fee estimate                                     0.10   $    405.00   $      40.50
      369    MEJ       5/23/2008 Discussion with Pete Ball                                   0.20   $    405.00   $      81.00
      370    MEJ       5/23/2008 Attend Court Hearing                                        5.50   $    405.00   $   2,227.50
      371    MAK       5/27/2008 Begin cash flow scorecard                                   2.30   $    245.00   $     563.50
      372    MAK       5/27/2008 Prepare cash flow scorecard                                 1.10   $    245.00   $     269.50
      373    MAK       5/27/2008 Continue cash flow scorecard                                0.90   $    245.00   $     220.50

      374    MAK       5/27/2008 Review and prep info for April monthly operating report     2.10   $    245.00   $    514.50
                                 Continue review and prep info for April monthly
      375    MAK       5/27/2008 operating report                                            1.10   $    245.00   $    269.50
      376    MAK       5/27/2008 Revise cash flow scorecard                                  1.20   $    245.00   $    294.00
      377    MAK       5/27/2008 Continue cash flow scorecard                                0.60   $    245.00   $    147.00
      378    MAK       5/27/2008 Begin 13-week CF rollforward                                1.60   $    245.00   $    392.00
      379    MEJ       5/27/2008 Update with SG re: Court and Cap                            0.30   $    405.00   $    121.50
      380    MEJ       5/27/2008 Reconcile Week #7 and #9 for Sean                           2.10   $    405.00   $    850.50
      381    MEJ       5/27/2008 Update with PS re: Court, Cap, Game Plan                    0.30   $    405.00   $    121.50
      382    MEJ       5/27/2008 Discussion with CK re: next steps                           0.30   $    405.00   $    121.50
      383    MEJ       5/27/2008 Continue Week 7 and 9 Reconciliation for Sean               1.40   $    405.00   $    567.00
      384    MEJ       5/27/2008 Review drafts of Plan and DS                                0.70   $    405.00   $    283.50
      385    MEJ       5/27/2008 Conference call with JP and DG re: Claims                   0.40   $    405.00   $    162.00
      386    MEJ       5/27/2008 Follow-up emails to HIG, Xroads, JHC                        0.30   $    405.00   $    121.50
      387    MEJ       5/27/2008 Claims review                                               0.30   $    405.00   $    121.50
      388    MEJ       5/27/2008 Review Nat City Offering memo                               1.10   $    405.00   $    445.50
      389    MEJ       5/27/2008 Review PPG claim                                            0.20   $    405.00   $     81.00




                                                             Page 9 of 10
    Case 08-14631-GMB                   Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                              Exhibit A Page 24 of 35


Exhibit B
3rd Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         4/28/08 thru 6/01/08



  Entry                                                                                                  Hourly   Professional
 Number Employee           Date                         Description                           Hours       Rate        Fees
      390 MEJ             5/27/2008 Review UCC filings and leases                               0.70   $   405.00 $    283.50

       391     MEJ        5/27/2008 Review Ultra inventory; Discussion with Munin re: same      0.60   $    405.00   $    243.00
       392     MEJ        5/28/2008 Review Week #10 Scorecard                                   0.30   $    405.00   $    121.50
       393     MEJ        5/28/2008 Discussion with Pete Ball                                   0.10   $    405.00   $     40.50
       394     MEJ        5/28/2008 Continue review of UCC and Leases                           0.20   $    405.00   $     81.00
       395     MEJ        5/28/2008 Discussions with Steve; Paul re: various                    1.40   $    405.00   $    567.00
       396     MEJ        5/28/2008 Discussion with HK re: Court, Cap, Next Steps               0.20   $    405.00   $     81.00

       397     MEJ        5/28/2008 Create consolidating 3/31/08 balance sheet for Nat City     1.10   $    405.00   $    445.50
       398     MEJ        5/28/2008 Discussions with Craig and Sean re: Various                 0.40   $    405.00   $    162.00

       399     MEJ        5/28/2008 Discussion with Nat City re: Memo, forecast, process        0.20   $    405.00   $     81.00
       400     MEJ        5/28/2008 Discussion with JP re: warehouseman claims                  0.20   $    405.00   $     81.00
                                    Review Nat City Projections; create reconciliation to
       401     MEJ        5/28/2008 4/08 Version                                                1.10   $    405.00   $    445.50
                                    Prep for Conference call with HIG and Xroads re: Week
       402    MEJ         5/28/2008 #10                                                         0.40   $    405.00   $    162.00
       403    MEJ         5/28/2008 Conf Call with Xroads and HIG re: Week 10                   0.80   $    405.00   $    324.00
       404    MEJ         5/28/2008 Discussion with PS re: DG resignation                       0.10   $    405.00   $     40.50
       405    MEJ         5/28/2008 Discussion with MF Re: claims, DG, HIG, 363                 0.40   $    405.00   $    162.00
       406    MAK         5/29/2008 Prep 13-week CF rollforward                                 2.60   $    245.00   $    637.00
       407    MAK         5/29/2008 Continue prep 13-week CF rollforward                        2.70   $    245.00   $    661.50
       408    MAK         5/29/2008 Continue prep 13-week CF rollforward                        2.90   $    245.00   $    710.50
       409    MEJ         5/29/2008 Create Scorecard Variance rollforward analysis              1.40   $    405.00   $    567.00
       410    MEJ         5/29/2008 Update with SG re: bonus, DG, non-competes                  0.40   $    405.00   $    162.00
       411    MEJ         5/29/2008 Review/Analyze Ultra sales                                  0.20   $    405.00   $     81.00
       412    MEJ         5/29/2008 Review/compare A/P versus schedules                         1.90   $    405.00   $    769.50
       413    MEJ         5/29/2008 Discussion with PS re: DG and morale                        0.30   $    405.00   $    121.50
       414    MEJ         5/29/2008 Discussion with MG re: budget                               0.20   $    405.00   $     81.00
       415    MEJ         5/29/2008 Discussion with Craig re: morale                            0.40   $    405.00   $    162.00

       416    MEJ         5/29/2008 Discussion with MK re: Scorecard variance rollforward       0.30   $    405.00   $    121.50
       417    MEJ         5/29/2008 Various discussions with JP re: claims                      0.30   $    405.00   $    121.50
       418    MEJ         5/29/2008 Follow-up for Xroads                                        0.60   $    405.00   $    243.00
       419    MEJ         5/29/2008 Continue unsecured claims comparison for Shapes             1.10   $    405.00   $    445.50
       420    MEJ         5/29/2008 Review information provided by Ultra to HIG                 0.30   $    405.00   $    121.50
       421    MEJ         5/29/2008 Discussion with Nat City                                    0.20   $    405.00   $     81.00
       422    MEJ         5/29/2008 Develop spreadsheet of professional fees                    0.40   $    405.00   $    162.00
       423    MAK         5/30/2008 Revise 13-week CF                                           1.70   $    245.00   $    416.50
       424    MAK         5/30/2008 Continue revise 13-week CF rollforward                      2.40   $    245.00   $    588.00
       425    MAK         5/30/2008 Revise cash flow scorecard                                  0.60   $    245.00   $    147.00
       426    MEJ         5/30/2008 Update with PS re: plant tours/HIG                          0.20   $    405.00   $     81.00
       427    MEJ         5/30/2008 Update with SG re: labor, HIG,                              0.50   $    405.00   $    202.50
       428    MEJ         5/30/2008 Update with Craig re: labor/363                             0.20   $    405.00   $     81.00
       429    MEJ         5/30/2008 Detailed review of claims                                   2.30   $    405.00   $    931.50
       430    MEJ         5/30/2008 Review week #10 rollforward                                 2.10   $    405.00   $    850.50
       431    MEJ         5/30/2008 Develop rollforward comparison spreadsheet                  1.20   $    405.00   $    486.00
                                    Conversation with SG and CK re: morale,
       432     MEJ        5/30/2008 communication                                               1.90   $    405.00   $    769.50

Total - 3rd Fee Application                                                                   447.20                 $ 141,864.00




                                                               Page 10 of 10
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 25 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                           Description                       Hours         Rate        Fees
        1 MAK           6/2/2008 Begin cash flow scorecard                                 2.70   $     245.00 $    661.50
        2 MAK           6/2/2008 Prepare cash flow scorecard                               0.90   $     245.00 $    220.50
        3 MAK           6/2/2008 Continue cash flow scorecard                              2.70   $     245.00 $    661.50
        4 MAK           6/2/2008 Revise cash flow scorecard                                0.60   $     245.00 $    147.00
        5 MAK           6/2/2008 Continue cash flow scorecard                              0.70   $     245.00 $    171.50
        6 MEJ           6/2/2008 emails re: claims                                         0.20   $     405.00 $     81.00
        7 MEJ           6/2/2008 Update with MK re: cf                                     0.10   $     405.00 $     40.50
        8 MEJ           6/2/2008 Discussion with JSV re: visits this week                  0.20   $     405.00 $     81.00
        9 MEJ           6/2/2008 emails re: HIG and plant tours                            0.20   $     405.00 $     81.00
       10 MAK           6/3/2008 Begin 13-week CF rollforward                              2.30   $     245.00 $    563.50
       11 MAK           6/3/2008 Prep 13-week CF rollforward                               1.80   $     245.00 $    441.00
       12 MAK           6/3/2008 Continue prep 13-week CF rollforward                      2.10   $     245.00 $    514.50
       13 MAK           6/3/2008 Continue prep 13-week CF rollforward                      1.10   $     245.00 $    269.50
       14 MEJ           6/3/2008 Update with Paul re: claims, etc.                         0.30   $     405.00 $    121.50
       15 MEJ           6/3/2008 Preliminary review of claims                              0.60   $     405.00 $    243.00
       16 MEJ           6/3/2008 Update UCC listing and executory contracts                0.70   $     405.00 $    283.50
       17 MEJ           6/3/2008 Discussion with SG re: HIG and personnel                  0.40   $     405.00 $    162.00
       18 MEJ           6/3/2008 Discussion with Nat City re: Plant tours                  0.30   $     405.00 $    121.50
                                 Meeting with MF, JP, SG, PS, DG re: case status,
       19    MEJ        6/3/2008 timing claims, etc.                                       4.40   $     405.00   $   1,782.00
       20    MAK        6/4/2008 Revise 13-week CF                                         3.10   $     245.00   $     759.50
       21    MAK        6/4/2008 Continue revise 13-week CF rollforward                    1.10   $     245.00   $     269.50
       22    MAK        6/4/2008 Revise cash flow scorecard                                0.40   $     245.00   $      98.00
       23    MAK        6/4/2008 Prep 13-week CF rollforward                               2.10   $     245.00   $     514.50
       24    MAK        6/4/2008 Finalize cash flow scorecard                              0.40   $     245.00   $      98.00
       25    MAK        6/4/2008 Continue revise 13-week CF rollforward                    1.10   $     245.00   $     269.50
       26    MEJ        6/4/2008 Update with PB from Xroads                                0.20   $     405.00   $      81.00
       27    MEJ        6/4/2008 Discussion with PS and DG re: union                       0.60   $     405.00   $     243.00
       28    MEJ        6/4/2008 Discussion with SG re: HIG, Wise                          0.30   $     405.00   $     121.50
       29    MEJ        6/4/2008 Pre-meeting with Wise folks                               0.50   $     405.00   $     202.50
       30    MEJ        6/4/2008 Begin review of week 11 scorecard                         0.80   $     405.00   $     324.00
       31    MEJ        6/4/2008 Discussion with HK re: case status                        0.20   $     405.00   $      81.00
       32    MEJ        6/4/2008 Update schedule of class 10 claims                        0.60   $     405.00   $     243.00
                                 Discussion with Nat City and HIG re: diligence, labor
       33    MEJ        6/4/2008 negotiations, etc.                                        0.70   $     405.00   $     283.50
       34    MEJ        6/4/2008 Meeting with financial people from Wise                   3.30   $     405.00   $   1,336.50
       35    MEJ        6/4/2008 Debrief with Nat City and management                      0.40   $     405.00   $     162.00
       36    MAK        6/5/2008 Finalize 13-week CF rollforward                           0.50   $     245.00   $     122.50
       37    MEJ        6/5/2008 Update Class 10 claims for new creditors                  0.30   $     405.00   $     121.50
       38    MEJ        6/5/2008 Conference cal with Sun Capital                           0.80   $     405.00   $     324.00
       39    MEJ        6/5/2008 Review plan funding and ops agreements                    0.40   $     405.00   $     162.00
       40    MEJ        6/5/2008 Update with MF re: potential bidders                      0.40   $     405.00   $     162.00
                                 Review Delair A/R, professional fees, availability
       41    MAK        6/6/2008 schedules and other info for CF                           1.10   $     245.00   $     269.50
       42    MEJ        6/6/2008 Update liquidation analysis for Plan Supplement           2.50   $     405.00   $   1,012.50
       43    MEJ        6/6/2008 Discuss same with PS                                      0.20   $     405.00   $      81.00
                                 Meeting with representatives from Longroad Asset
       44    MEJ        6/6/2008 Management                                                1.40   $     405.00   $    567.00
       45    MEJ        6/6/2008 Availability comparison for HIG                           2.10   $     405.00   $    850.50
       46    MEJ        6/6/2008 More meetings with Longroad                               1.80   $     405.00   $    729.00
                                 Update with DG re: union negotiations and
       47    MEJ        6/6/2008 environmental                                             0.50   $     405.00   $    202.50
       48    MEJ        6/6/2008 SG re: Longroad meetings and next week                    0.40   $     405.00   $    162.00



                                                              Page 1 of 6
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 26 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                              Description                    Hours         Rate        Fees
       49 MAK           6/9/2008 Begin cash flow scorecard                                 2.70   $     245.00 $    661.50
       50 MAK           6/9/2008 Prepare cash flow scorecard                               2.10   $     245.00 $    514.50
       51 MAK           6/9/2008 Continue cash flow scorecard                              1.60   $     245.00 $    392.00
       52 MAK           6/9/2008 Revise cash flow scorecard                                1.50   $     245.00 $    367.50
       53 MAK           6/9/2008 Continue cash flow scorecard                              1.90   $     245.00 $    465.50
       54 MAK           6/9/2008 Finalize cash flow scorecard                              0.90   $     245.00 $    220.50
       55 MEJ           6/9/2008 Update with MF re: Plan Supplement and APA                0.30   $     405.00 $    121.50
                                 Discussion with PS re: Due diligence update, MOR
       56    MEJ        6/9/2008 update, 363 status                                        0.60   $     405.00   $    243.00
       57    MEJ        6/9/2008 Review and comment on claims register                     1.60   $     405.00   $    648.00
       58    MEJ        6/9/2008 Prep for call with Xroads                                 0.40   $     405.00   $    162.00
       59    MEJ        6/9/2008 Call with Xroads re: Scorecard week 11                    0.80   $     405.00   $    324.00
       60    MEJ        6/9/2008 Call with Nat City                                        0.40   $     405.00   $    162.00
       61    MEJ        6/9/2008 Review Week 12 Scorecard                                  0.70   $     405.00   $    283.50
       62    MEJ        6/9/2008 Analysis re disbursement default                          1.40   $     405.00   $    567.00
       63    MEJ        6/9/2008 Discuss waiver situation with PS; review same             0.30   $     405.00   $    121.50
       64    MAK       6/10/2008 Begin 13-week CF rollforward                              2.30   $     245.00   $    563.50
       65    MAK       6/10/2008 Prep 13-week CF rollforward                               1.60   $     245.00   $    392.00
       66    MAK       6/10/2008 Continue prep 13-week CF rollforward                      2.70   $     245.00   $    661.50
       67    MAK       6/10/2008 Continue prep 13-week CF rollforward                      1.40   $     245.00   $    343.00
       68    MAK       6/10/2008 Revise 13-week CF                                         0.80   $     245.00   $    196.00
       69    MAK       6/10/2008 Continue revise 13-week CF rollforward                    1.30   $     245.00   $    318.50
       70    MEJ       6/10/2008 Discussion with CK re: waiver                             0.40   $     405.00   $    162.00
       71    MEJ       6/10/2008 emails re utility situation                               0.10   $     405.00   $     40.50
                                 email to MF and PS re: waiver situation and impact on
       72    MEJ       6/10/2008 CIT                                                       0.40   $     405.00   $    162.00
       73    MEJ       6/10/2008 Update with MF re: waiver                                 0.40   $     405.00   $    162.00
       74    MEJ       6/10/2008 Conference call with Relativity                           1.50   $     405.00   $    607.50
       75    MEJ       6/10/2008 Continue review and comment of claims register            0.40   $     405.00   $    162.00
       76    MAK       6/11/2008 Prep weekly disbursement tracker                          1.60   $     245.00   $    392.00
       77    MAK       6/11/2008 Review and comment on April MORs                          1.70   $     245.00   $    416.50
       78    MAK       6/11/2008 Revise weekly disbursement tracker                        0.90   $     245.00   $    220.50
                                 Meeting with Ms. Roman to review and discuss weekly
       79    MAK       6/11/2008 disbursements                                             0.60   $     245.00   $    147.00
                                 Meeting with Mr. Sorenson to review and discuss
       80    MAK       6/11/2008 weekly disbursements and 13-week rollforward              1.10   $     245.00   $    269.50
       81    MAK       6/11/2008 Begin reconciliation of Week #12 scorecard                1.30   $     245.00   $    318.50
       82    MAK       6/11/2008 Continue review and comment on April MORs                 0.80   $     245.00   $    196.00
                                 Meeting with Ms. Roman to review and discuss weekly
       83    MAK       6/11/2008 disbursements                                             0.60   $     245.00   $    147.00
                                 Revise cash receipts and disbursements schedule to
       84    MAK       6/11/2008 April MOR                                                 0.50   $     245.00   $     122.50
       85    MEJ       6/11/2008 HIG info request                                          0.50   $     405.00   $     202.50
       86    MEJ       6/11/2008 Continue review and comment of claims register            3.10   $     405.00   $   1,255.50
       87    MEJ       6/11/2008 Update with Pete Ball re: Ultra B/S                       0.30   $     405.00   $     121.50
       88    MEJ       6/11/2008 Update with Paul re various matters                       0.40   $     405.00   $     162.00
       89    MEJ       6/11/2008 Discussion with MK re: cash management                    0.30   $     405.00   $     121.50

       90    MEJ       6/11/2008 Discussion with MF re: environmental and cap issues       0.60   $     405.00   $    243.00
       91    MEJ       6/11/2008 Various waiver discussions with PS, CK, MF                1.10   $     405.00   $    445.50
       92    MEJ       6/11/2008 Conference call with Relativity                           0.50   $     405.00   $    202.50
       93    MEJ       6/11/2008 Review April MORs                                         0.60   $     405.00   $    243.00
       94    MEJ       6/11/2008 Additional review and analysis of waiver                  0.90   $     405.00   $    364.50



                                                             Page 2 of 6
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                           Exhibit A Page 27 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                                Hourly   Professional
 Number Employee        Date                            Description                       Hours         Rate        Fees
       95 MEJ          6/11/2008 Continued review of April MORs                             0.80   $     405.00 $    324.00
       96 MEJ          6/11/2008 Discuss E&Y list with HIG                                  0.30   $     405.00 $    121.50
       97 MEJ          6/11/2008 Waiver discussion with MF                                  0.80   $     405.00 $    324.00
       98 MEJ          6/11/2008 Discussion with HK re: Nat City                            0.30   $     405.00 $    121.50
       99 MEJ          6/11/2008 Discussion with HK and BK re: disbursement default         0.50   $     405.00 $    202.50
      100 MEJ          6/11/2008 email re Claims                                            0.30   $     405.00 $    121.50
                                 Meeting with Mr. Sorenson to review and discuss
      101    MAK       6/12/2008 weekly disbursements and 13-week rollforward               0.40   $     245.00   $     98.00
      102    MAK       6/12/2008 Update week #12 scorecard reconciliation                   1.10   $     245.00   $    269.50
      103    MAK       6/12/2008 revise 13-week CF rollforward                              1.10   $     245.00   $    269.50
      104    MAK       6/12/2008 Meeting with Messrs. Jacoby and Poslusny                   1.20   $     245.00   $    294.00
                                 Review claims registry and segregate claims into
      105    MAK       6/12/2008 different classes and categories                           2.30   $     245.00   $    563.50
                                 Meeting with Ms. Roman to review and discuss weekly
      106    MAK       6/12/2008 disbursements                                              0.40   $     245.00   $     98.00
      107    MAK       6/12/2008 Review April MORs                                          0.70   $     245.00   $    171.50
      108    MEJ       6/12/2008 A/R and inventory review and discussion with PS            0.70   $     405.00   $    283.50
                                 Conference call with Cozen re: APA, timing, filing
      109    MEJ       6/12/2008 deadlines, waiver                                          1.80   $     405.00   $    729.00
      110    MEJ       6/12/2008 Prepare Schedule 8.1 - Executory Contracts                 1.30   $     405.00   $    526.50
      111    MEJ       6/12/2008 Review Disbursement tracking tool                          0.40   $     405.00   $    162.00
      112    MEJ       6/12/2008 Meet with JP and MK re: claims                             0.80   $     405.00   $    324.00
      113    MEJ       6/12/2008 Conference call with Epiq re: same                         0.30   $     405.00   $    121.50
      114    MEJ       6/12/2008 Follow-up on Schedule 8.1                                  1.10   $     405.00   $    445.50
                                 Review claims registry and segregate claims into
      115    MAK       6/13/2008 different classes and categories                           3.10   $     245.00   $    759.50
                                 Continue review claims registry and segregate claims
      116    MAK       6/13/2008 into different classes and categories                      2.30   $     245.00   $    563.50
                                 Review claims registry and segregate claims into
      117    MAK       6/13/2008 different classes and categories                           2.10   $     245.00   $    514.50
                                 Meeting with Ms. Roman to review and discuss weekly
      118    MAK       6/13/2008 disbursements                                              0.60   $     245.00   $    147.00
      119    MEJ       6/13/2008 Begin review of APA                                        0.60   $     405.00   $    243.00
      120    MEJ       6/13/2008 Discussions and emails re Schedule 8.1                     0.40   $     405.00   $    162.00
      121    MEJ       6/14/2008 Complete review of APA and provide comments                0.90   $     405.00   $    364.50
      122    MAK       6/16/2008 Begin cash flow scorecard                                  2.20   $     245.00   $    539.00
      123    MAK       6/16/2008 Prepare cash flow scorecard                                2.30   $     245.00   $    563.50
      124    MAK       6/16/2008 Continue cash flow scorecard                               1.10   $     245.00   $    269.50
      125    MAK       6/16/2008 Revise cash flow scorecard                                 0.90   $     245.00   $    220.50
      126    MAK       6/16/2008 Continue cash flow scorecard                               1.40   $     245.00   $    343.00
      127    MAK       6/16/2008 Finalize cash flow scorecard                               0.50   $     245.00   $    122.50
      128    MAK       6/16/2008 Review and update Schedule 8.1                             0.70   $     245.00   $    171.50
                                 Review claims register, segregate environmental claims
                                 and prepare schedule of potential environmental
      129    MAK       6/16/2008 objections for Cozen                                       3.70   $     245.00   $    906.50
      130    MEJ       6/16/2008 Review drafts of APA and motions                           0.90   $     405.00   $    364.50
      131    MEJ       6/16/2008 emails re: Scorecard                                       0.20   $     405.00   $     81.00
                                 Review claims register, segregate Class 1 claims and
                                 prepare schedule of potential Class 1 objections for
      132    MAK       6/17/2008 Cozen                                                      2.70   $     245.00   $    661.50
                                 Review claims register, segregate Class 2 claims and
                                 prepare schedule of potential Class 2 objections for
      133    MAK       6/17/2008 Cozen                                                      2.90   $     245.00   $    710.50



                                                             Page 3 of 6
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                 Desc
                                           Exhibit A Page 28 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                                  Hourly     Professional
 Number Employee        Date                           Description                          Hours         Rate          Fees
                                 Review claims register, segregate Class 4 claims and
                                 prepare schedule of potential Class 4 objections for
      134    MAK       6/17/2008 Cozen                                                        2.10   $     245.00   $    514.50
                                 Review claims register, segregate Class 5 claims and
                                 prepare schedule of potential Class 5 objections for
      135    MAK       6/17/2008 Cozen                                                        3.90   $     245.00   $    955.50
      136    MAK       6/17/2008 Review and update Schedule 8.1                               1.10   $     245.00   $    269.50
      137    MEJ       6/17/2008 Review HIG comments to APA                                   0.50   $     405.00   $    202.50
      138    MEJ       6/17/2008 Review revised Sales motion                                  0.20   $     405.00   $     81.00
      139    MEJ       6/17/2008 Review Week #13 Scorecard                                    0.60   $     405.00   $    243.00
      140    MEJ       6/17/2008 emails re: Transfer tax issue                                0.10   $     405.00   $     40.50
      141    MEJ       6/17/2008 Review updates to claim analysis                             0.40   $     405.00   $    162.00

      142    MEJ       6/17/2008 Discussion with MK re: claims and executory contracts        0.40   $     405.00   $    162.00
      143    MEJ       6/17/2008 Discussion with HK re: case status                           0.50   $     405.00   $    202.50
      144    MEJ       6/17/2008 Discussion with MK re: claims                                0.30   $     405.00   $    121.50
                                 Completed Duplicate Claims Analysis an Objection
                                 Worksheet comparing "Duplicate Claims"against the
      145     GF       6/18/2008 proof of claims to confirm Duplicates.                      10.10   $     155.00   $   1,565.50
                                 Review claims register, segregate Class 6 claims and
                                 prepare schedule of potential Class 6 objections for
      146    MAK       6/18/2008 Cozen                                                        3.10   $     245.00   $    759.50
                                 Review claims register, segregate Class 5 claims and
                                 prepare schedule of potential Class 5 objections for
      147    MAK       6/18/2008 Cozen                                                        3.40   $     245.00   $    833.00
                                 Continue review claims register, continue segregate
                                 Class 6 claims and continue prepare schedule of
      148    MAK       6/18/2008 potential Class 6 objections for Cozen                       1.10   $     245.00   $    269.50
                                 Continue review claims register, continue segregate
                                 Class 5 claims and continue prepare schedule of
      149    MAK       6/18/2008 potential Class 5 objections for Cozen                       1.70   $     245.00   $    416.50
                                 Review claims register, segregate executory contracts
                                 and prepare schedule of potential executory contracts
      150    MAK       6/18/2008 for Cozen                                                    3.20   $     245.00   $    784.00
      151    MAK       6/18/2008 Review and update Schedule 8.1                               0.40   $     245.00   $     98.00
      152    MEJ       6/18/2008 emails re: claims, scorecard                                 0.20   $     405.00   $     81.00
      153    MEJ       6/18/2008 Review 6/14 A/R                                              0.40   $     405.00   $    162.00
      154    MEJ       6/18/2008 Discussion with MK re: claims status                         0.20   $     405.00   $     81.00
                                 Completed Objection and Assumption Analysis of
                                 Executory Contracts that appear in Schedules and
      155     GF       6/19/2008 Proof of Claims.                                             5.50   $     155.00   $    852.50
                                 Started Class 10 Claims Analysis an Objection
      156     GF       6/19/2008 Worksheet                                                    4.10   $     155.00   $    635.50
                                 Review claims register, segregate priority claims and
                                 prepare schedule of potential priority claims objections
      157    MAK       6/19/2008 for Cozen                                                    2.10   $     245.00   $    514.50
                                 Review claims register, segregate admin claims and
                                 prepare schedule of potential admin claims objections
      158    MAK       6/19/2008 for Cozen                                                    1.70   $     245.00   $    416.50
                                 Review claims register, segregate misc claims and
                                 prepare schedule of potential misc claims objections for
      159    MAK       6/19/2008 Cozen                                                        3.60   $     245.00   $    882.00




                                                              Page 4 of 6
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                Desc
                                           Exhibit A Page 29 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                                 Hourly     Professional
 Number Employee        Date                           Description                         Hours         Rate          Fees
                                 Review claims register, segregate tax claims and
                                 prepare schedule of potential tax claims objections for
      160    MAK       6/19/2008 Cozen                                                       3.40   $     245.00   $    833.00
                                 Review claims register, segregate Class 7 claims and
                                 prepare schedule of potential Class 7 objections for
      161    MAK       6/19/2008 Cozen                                                       1.10   $     245.00   $    269.50
                                 Review claims register, segregate duplicate claims and
                                 prepare schedule of potential claims objections for
      162    MAK       6/19/2008 Cozen                                                       1.30   $     245.00   $    318.50
      163    MEJ       6/19/2008 emails re: claims                                           0.40   $     405.00   $    162.00
      164    MEJ       6/19/2008 Review 5/31 ineligible and availability changes             0.40   $     405.00   $    162.00
                                 Completed Claims vs. Schedule Analysis an Objection
      165     GF       6/20/2008 Worksheet                                                   5.10   $     155.00   $    790.50
                                 Completed Class 10 Claims Analysis and Objection
      166    GF        6/20/2008 Worksheet                                                   5.30   $     155.00   $    821.50
      167    MAK       6/20/2008 Review all claims register objection analyses to date       2.70   $     245.00   $    661.50
      168    MAK       6/20/2008 Review Class 10 claims register analysis                    1.10   $     245.00   $    269.50
      169    MAK       6/20/2008 Update Schedule 8.1                                         0.70   $     245.00   $    171.50
                                 Review tax claim info and update tax claims objection
      170    MAK       6/20/2008 schedule                                                    2.30   $     245.00   $    563.50
                                 Review claims vs. schedule analysis ($200k - $144
      171    MAK       6/20/2008 million)                                                    1.30   $     245.00   $    318.50
                                 Continue review claims register, continue segregate
                                 Misc claims and continue prepare schedule of potential
      172    MAK       6/20/2008 Misc objections for Cozen                                   1.70   $     245.00   $    416.50
      173    MEJ       6/20/2008 Various emails re: claims                                   0.30   $     405.00   $    121.50
      174    MEJ       6/20/2008 Review claims register                                      0.60   $     405.00   $    243.00
      175    MEJ       6/23/2008 Review week #14 cash disbursements                          0.40   $     405.00   $    162.00
      176    MEJ       6/23/2008 Review Schedule 8.1                                         0.50   $     405.00   $    202.50
      177    MEJ       6/23/2008 Review Claims update                                        1.10   $     405.00   $    445.50
      178    MEJ       6/23/2008 Review motions                                              0.50   $     405.00   $    202.50
                                 Update with PS on case status, claims, cash flow,
      179    MEJ       6/23/2008 business                                                    0.60   $     405.00   $    243.00

      180    MEJ       6/23/2008 Update with MF on Unions, Environmental, critical dates     0.70   $     405.00   $    283.50
      181    MEJ       6/23/2008 Continue review of motions                                  0.20   $     405.00   $     81.00
                                 Review budget for next 4 weeks and other budget
      182    MEJ       6/23/2008 issues                                                      0.70   $     405.00   $    283.50

      183    MEJ       6/23/2008 Consideration of Ben LLC agreement on Schedule 8.1          0.40   $     405.00   $    162.00
      184    MEJ       6/23/2008 Conference call with JHC re: various matters                1.30   $     405.00   $    526.50
      185    MEJ       6/23/2008 Continued discussion and review of Schedule 8.1             0.40   $     405.00   $    162.00
      186    MEJ       6/23/2008 Discussion with SG re: 8.1                                  0.60   $     405.00   $    243.00
      187    MEJ       6/23/2008 Discussion with PS re: 8.1                                  0.40   $     405.00   $    162.00
      188    MEJ       6/23/2008 Conference call with MF, JP, SG re: 8.1                     1.60   $     405.00   $    648.00
      189    MEJ       6/24/2008 8.1 Follow-up for Epiq                                      0.30   $     405.00   $    121.50
      190    MEJ       6/24/2008 Update with PS re: status and forecast                      0.40   $     405.00   $    162.00
      191    MEJ       6/24/2008 Discuss PSEG waiver issue with PS                           0.20   $     405.00   $     81.00
      192    MEJ       6/24/2008 Discuss PSEG waiver issue with MF                           0.40   $     405.00   $    162.00
      193    MEJ       6/24/2008 Develop analysis supporting waiver request                  1.10   $     405.00   $    445.50
      194    MEJ       6/24/2008 Begin review of 503(b)(9) claims                            1.40   $     405.00   $    567.00
      195    MEJ       6/24/2008 Discussion with CK re: 503(b)(9)                            0.20   $     405.00   $     81.00
      196    MEJ       6/24/2008 Additional prep re: waiver request                          0.70   $     405.00   $    283.50



                                                              Page 5 of 6
    Case 08-14631-GMB                   Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                Desc
                                              Exhibit A Page 30 of 35


Exhibit B
4th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/02/08 thru 6/29/08



  Entry                                                                                                    Hourly   Professional
 Number Employee           Date                             Description                       Hours         Rate        Fees
      197 MEJ             6/24/2008 Various discussions with JP re: 503(b)(9) issues            0.40   $     405.00 $    162.00
      198 MEJ             6/24/2008 Continue review of 503(b)(9) claims                         1.90   $     405.00 $    769.50
      199 MEJ             6/24/2008 Various emails re: waiver issues                            0.30   $     405.00 $    121.50
      200 MAK             6/25/2008 Begin cash flow scorecard                                   1.70   $     245.00 $    416.50
      201 MAK             6/25/2008 Prepare cash flow scorecard                                 1.30   $     245.00 $    318.50
      202 MAK             6/25/2008 Continue cash flow scorecard                                1.10   $     245.00 $    269.50
      203 MAK             6/25/2008 Revise cash flow scorecard                                  0.70   $     245.00 $    171.50
      204 MAK             6/25/2008 Continue cash flow scorecard                                1.40   $     245.00 $    343.00
      205 MAK             6/25/2008 Finalize cash flow scorecard                                1.30   $     245.00 $    318.50
      206 MAK             6/25/2008 Prepare rolling 13-week cash flow                           1.40   $     245.00 $    343.00
      207 MEJ             6/25/2008 Discussion with HK re: covenant waiver and 503b9            0.20   $     405.00 $     81.00
      208 MEJ             6/25/2008 Review recent claims                                        0.20   $     405.00 $     81.00
      209 MEJ             6/25/2008 Review admin claims filed                                   0.60   $     405.00 $    243.00
      210 MEJ             6/25/2008 Review week 14                                              1.10   $     405.00 $    445.50
      211 MEJ             6/25/2008 Continued review of admin claims                            0.60   $     405.00 $    243.00
      212 MAK             6/26/2008 Continue rolling 13-week cash flow                          2.30   $     245.00 $    563.50
      213 MAK             6/26/2008 Prepare rolling 13-week cash flow                           1.70   $     245.00 $    416.50
      214 MAK             6/26/2008 Continue rolling 13-week cash flow                          1.20   $     245.00 $    294.00
      215 MAK             6/26/2008 Prepare rolling 13-week cash flow                           1.10   $     245.00 $    269.50
      216 MAK             6/26/2008 Continue rolling 13-week cash flow                          1.60   $     245.00 $    392.00
      217 MAK             6/26/2008 Prepare rolling 13-week cash flow                           0.90   $     245.00 $    220.50
      218 MEJ             6/26/2008 Review various admin claims                                 1.60   $     405.00 $    648.00
      219 MEJ             6/26/2008 Review union settlements                                    0.80   $     405.00 $    324.00
      220 MEJ             6/26/2008 Final review of week 14 scorecard                           0.70   $     405.00 $    283.50
      221 MEJ             6/26/2008 Detailed review of all admin claims                         1.10   $     405.00 $    445.50
      222 MEJ             6/26/2008 Update with JP re admin claims and reserve                  0.60   $     405.00 $    243.00
      223 MEJ             6/26/2008 Continued review of admin claims                            1.30   $     405.00 $    526.50
      224 MEJ             6/26/2008 Review initial draft of 13 week rollforward                 1.60   $     405.00 $    648.00
      225 MEJ             6/26/2008 Continued review of admin claims                            0.50   $     405.00 $    202.50
      226 MAK             6/27/2008 Prepare rolling 13-week cash flow                           1.30   $     245.00 $    318.50
      227 MAK             6/27/2008 Meeting to review rolling 13-week cash flow                 0.90   $     245.00 $    220.50
      228 MAK             6/27/2008 Revise rolling 13-week cash flow                            1.30   $     245.00 $    318.50
      229 MAK             6/27/2008 Meeting to review rolling 13-week cash flow                 0.50   $     245.00 $    122.50
      230 MAK             6/27/2008 Revise rolling 13-week cash flow                            0.60   $     245.00 $    147.00
      231 MAK             6/27/2008 Prep rolling 13-week variance and other analyses            1.10   $     245.00 $    269.50
      232 MAK             6/27/2008 Review weekly disbursements with Ms. Roman                  0.60   $     245.00 $    147.00
                                    Review utility and insurance payments with Mr.
       233     MAK        6/27/2008 Sorenson                                                    0.70   $     245.00   $    171.50
       234     MAK        6/27/2008 Finalize rolling 13-week cash flow                          0.90   $     245.00   $    220.50
                                    Develop comprehensive spreadsheet re: priority and
       235     MEJ        6/27/2008 admin claims                                                2.70   $     405.00   $   1,093.50
       236     MEJ        6/27/2008 Conf call with MK and PS re: week 13 rollforward            1.40   $     405.00   $     567.00

       237     MEJ        6/27/2008 2nd Conf call with MK and PS re: week 13 rollforward        0.90   $     405.00   $     364.50
       238     MEJ        6/27/2008 Finalize claims spreadsheet and circulate                   2.50   $     405.00   $   1,012.50

       239     MEJ        6/28/2008 Begin analysis of professional fees for escrow purposes     0.60   $     405.00   $    243.00
                                    Finalize analysis of professional fees for escrow
       240     MEJ        6/29/2008 purposes                                                    1.40   $     405.00   $    567.00
       241     MEJ        6/29/2008 Review additional admin claims                              0.20   $     405.00   $     81.00
       242     MEJ        6/29/2008 emails re: sentry                                           0.20   $     405.00   $     81.00

Total - 4th Fee Application                                                                   286.20                  $ 83,282.00



                                                                Page 6 of 6
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 31 of 35


Exhibit B
5th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/30/08 thru 8/03/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                             Description                     Hours         Rate        Fees
        1 MAK          6/30/2008 Begin cash flow scorecard                                 1.10   $     245.00 $    269.50
        2 MAK          6/30/2008 Prepare cash flow scorecard                               0.80   $     245.00 $    196.00
        3 MAK          6/30/2008 Continue cash flow scorecard                              1.30   $     245.00 $    318.50
        4 MAK          6/30/2008 Revise cash flow scorecard                                1.40   $     245.00 $    343.00
        5 MAK          6/30/2008 Continue cash flow scorecard                              1.40   $     245.00 $    343.00
        6 MAK          6/30/2008 Finalize cash flow scorecard                              0.30   $     245.00 $     73.50
        7 MAK          6/30/2008 Prepare rolling 13-week cash flow                         2.60   $     245.00 $    637.00
        8 MEJ          6/30/2008 emails re: Prof Fees                                      0.10   $     405.00 $     40.50
        9 MEJ          6/30/2008 Review Lexington claim                                    0.10   $     405.00 $     40.50
       10 MEJ          6/30/2008 Review Delage claim                                       0.10   $     405.00 $     40.50
       11 MEJ          6/30/2008 Finalize draft of Prof Fee spreadsheet                    0.60   $     405.00 $    243.00
       12 MEJ          6/30/2008 Discussion with Irv re: Claims                            0.30   $     405.00 $    121.50
       13 MAK           7/1/2008 Prepare rolling 13-week cash flow                         2.70   $     245.00 $    661.50
       14 MAK           7/1/2008 Prepare rolling 13-week cash flow                         1.90   $     245.00 $    465.50
       15 MAK           7/1/2008 Continue rolling 13-week cash flow                        0.60   $     245.00 $    147.00
       16 MAK           7/1/2008 Meeting to review rolling 13-week cash flow               0.40   $     245.00 $     98.00
       17 MAK           7/1/2008 Continue rolling 13-week cash flow                        0.40   $     245.00 $     98.00
       18 MAK           7/1/2008 Finalize rolling 13-week cash flow                        0.30   $     245.00 $     73.50
       19 MAK           7/1/2008 Preparation of information for May MOR                    2.40   $     245.00 $    588.00
       20 MEJ           7/1/2008 Review updated Admin Claim list                           1.60   $     405.00 $    648.00
       21 MEJ           7/1/2008 Review and update Executory Contract list                 0.40   $     405.00 $    162.00
       22 MEJ           7/1/2008 Update Emergence Funding spreadsheet                      0.70   $     405.00 $    283.50
       23 MEJ           7/1/2008 Discussion with CK re: Effective Date                     0.20   $     405.00 $     81.00
       24 MEJ           7/1/2008 Prep for call with Cozen and Debtor                       0.30   $     405.00 $    121.50
                                 Conference call with Cozen and Debtor re: "to do" and
       25    MEJ        7/1/2008 issues re: confirmation                                   2.60   $     405.00   $   1,053.00
       26    MEJ        7/1/2008 Update Emergence Funding spreadsheet                      0.80   $     405.00   $     324.00
       27    MEJ        7/1/2008 Review Scorecard and 13 week cf rollforward               1.40   $     405.00   $     567.00
       28    MEJ        7/1/2008 Discuss same with MK                                      0.70   $     405.00   $     283.50
                                 Preparation of cash receipts and disbursements
       29    MAK        7/2/2008 schedules for May MOR                                     3.10   $     245.00   $    759.50
       30    MAK        7/2/2008 Preparation of AR Aging schedules for May MOR             2.10   $     245.00   $    514.50
                                 Preparation of cash disbursements journals for May
       31    MAK        7/2/2008 MOR                                                       2.30   $     245.00   $    563.50
                                 Continue preparation of cash receipts and
       32    MAK        7/2/2008 disbursements schedules for May MOR                       1.30   $     245.00   $    318.50
       33    MEJ        7/2/2008 Review various emails re: claims                          0.20   $     405.00   $     81.00
       34    MEJ        7/2/2008 Review outstanding letters of credit - email to PS        0.20   $     405.00   $     81.00
       35    MEJ        7/2/2008 Emails with PS re: Prof Fees and payments                 0.20   $     405.00   $     81.00
       36    MEJ        7/2/2008 Review Rusal docs                                         0.10   $     405.00   $     40.50
       37    MEJ        7/2/2008 Review CCMUA docs and claim                               0.10   $     405.00   $     40.50
       38    MEJ        7/2/2008 Review Perfect Trade situation                            0.20   $     405.00   $     81.00
       39    MEJ        7/2/2008 Review various objections                                 0.30   $     405.00   $    121.50
       40    MEJ        7/2/2008 Update and analyze Emergence Funding Issues               2.10   $     405.00   $    850.50
       41    MEJ        7/2/2008 Discussion with JP re: Perfect Trade                      0.10   $     405.00   $     40.50
       42    MEJ        7/2/2008 Review environmental claims/objections                    0.30   $     405.00   $    121.50
       43    MEJ        7/2/2008 Continue analysis of emergence funding                    0.40   $     405.00   $    162.00

       44    MEJ        7/2/2008 Discussion with HK re: Emergence Funding and Cap          0.90   $     405.00   $    364.50
       45    MEJ        7/2/2008 emails with MF re: Emergence Funding                      0.30   $     405.00   $    121.50
       46    MEJ        7/2/2008 email cap analysis to JHC                                 0.10   $     405.00   $     40.50
       47    MEJ        7/2/2008 Discussion with Jen re: Rusal                             0.20   $     405.00   $     81.00
       48    MEJ        7/2/2008 Create spreadsheet re: Rusal                              0.60   $     405.00   $    243.00



                                                             Page 1 of 5
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                                Desc
                                           Exhibit A Page 32 of 35


Exhibit B
5th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/30/08 thru 8/03/08



  Entry                                                                                                 Hourly     Professional
 Number Employee        Date                           Description                         Hours         Rate          Fees
                                 Preparation of cash receipts and disbursements
       49    MAK        7/3/2008 schedules for May MOR                                       1.90   $     245.00   $    465.50
                                 Preparation of cash disbursements journals for May
       50    MAK        7/3/2008 MOR                                                         1.60   $     245.00   $    392.00

       51    MAK        7/3/2008 Discussions with management re daily disbursements          0.40   $     245.00   $     98.00

       52    MAK        7/3/2008 Preparation of information for claims register analysis     1.10   $     245.00   $    269.50
                                 Review professional fees and anticipated emergence
       53    MAK        7/3/2008 funding estimate                                            0.90   $     245.00   $    220.50
       54    MEJ        7/3/2008 Review JSV and SO affidavits                                0.20   $     405.00   $     81.00
       55    MEJ        7/3/2008 Update Admin claims                                         0.50   $     405.00   $    202.50
       56    MEJ        7/3/2008 Review tax issues                                           0.20   $     405.00   $     81.00
       57    MEJ        7/3/2008 Review Medalco claim and payments                           0.30   $     405.00   $    121.50
       58    MEJ        7/3/2008 Update executory contract schedule                          0.30   $     405.00   $    121.50
                                 Various emails with JHC re: Cap, Confirmation hearing,
       59    MEJ        7/3/2008 claims                                                      0.20   $     405.00   $     81.00

       60    MEJ        7/3/2008 Discussion with MF re: environmental update, budget         0.70   $     405.00   $    283.50
       61    MEJ        7/3/2008 Revisit week #12 covenant calc                              0.40   $     405.00   $    162.00
       62    MEJ        7/3/2008 Discussion with MK re: cash management                      0.40   $     405.00   $    162.00
       63    MEJ        7/3/2008 emails with MF re: Emergence Funding                        0.20   $     405.00   $     81.00
       64    MEJ        7/3/2008 Finalize Schedule 8.1                                       0.60   $     405.00   $    243.00

       65    MEJ        7/3/2008 Discussion with Irv re: Cap analysis and presentation       0.40   $     405.00   $    162.00
       66    MEJ        7/3/2008 Update Emergence Funding spreadsheet                        0.30   $     405.00   $    121.50
       67    MEJ        7/3/2008 Update professional fee spreadsheet                         0.60   $     405.00   $    243.00
                                 Discussion with Irv re: Final Emergence Funding
       68    MEJ        7/3/2008 Spreadsheet                                                 0.10   $     405.00   $     40.50
       69    MAK        7/7/2008 Begin cash flow scorecard                                   1.40   $     245.00   $    343.00
       70    MAK        7/7/2008 Prepare cash flow scorecard                                 1.60   $     245.00   $    392.00
       71    MAK        7/7/2008 Continue cash flow scorecard                                0.90   $     245.00   $    220.50
       72    MAK        7/7/2008 Revise cash flow scorecard                                  1.10   $     245.00   $    269.50
       73    MAK        7/7/2008 Continue cash flow scorecard                                0.60   $     245.00   $    147.00
       74    MAK        7/7/2008 Finalize cash flow scorecard                                0.50   $     245.00   $    122.50
       75    MAK        7/7/2008 Begin 13-week CF rollforward                                2.80   $     245.00   $    686.00
       76    MEJ        7/7/2008 Review Affidavits                                           0.30   $     405.00   $    121.50
       77    MEJ        7/7/2008 Review/Update exceptions to Schedule 8.1                    0.40   $     405.00   $    162.00
       78    MEJ        7/7/2008 Review Plan Revisions                                       0.40   $     405.00   $    162.00
       79    MEJ        7/7/2008 Review availability schedules                               0.30   $     405.00   $    121.50
       80    MEJ        7/7/2008 Update professional fee spreadsheet                         0.30   $     405.00   $    121.50
       81    MEJ        7/7/2008 Update with PS re: various matters                          0.60   $     405.00   $    243.00
       82    MEJ        7/7/2008 Update with SG re: various matters                          0.90   $     405.00   $    364.50
       83    MEJ        7/7/2008 Update review/analysis of Class 5 and 6 claims              2.30   $     405.00   $    931.50
                                 Conference call with MF and SG re: case status and
       84    MEJ        7/7/2008 next steps                                                  1.50   $     405.00   $    607.50
       85    MEJ        7/7/2008 Begin Review - GT's order                                   0.60   $     405.00   $    243.00
       86    MAK        7/8/2008 Prep 13-week CF rollforward                                 2.30   $     245.00   $    563.50
       87    MAK        7/8/2008 Continue prep 13-week CF rollforward                        1.70   $     245.00   $    416.50
       88    MAK        7/8/2008 Continue prep 13-week CF rollforward                        1.20   $     245.00   $    294.00
       89    MAK        7/8/2008 Revise 13-week CF                                           1.10   $     245.00   $    269.50
       90    MAK        7/8/2008 Continue revise 13-week CF rollforward                      1.60   $     245.00   $    392.00
       91    MAK        7/8/2008 Prep weekly disbursement tracker                            0.40   $     245.00   $     98.00



                                                             Page 2 of 5
    Case 08-14631-GMB                 Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                            Exhibit A Page 33 of 35


Exhibit B
5th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/30/08 thru 8/03/08



  Entry                                                                                                 Hourly     Professional
 Number Employee        Date                            Description                        Hours         Rate          Fees
                                 Meeting with Ms. Roman to review and discuss weekly
       92    MAK        7/8/2008 disbursements                                               0.60   $     245.00   $    147.00
       93    MAK        7/8/2008 Revise weekly disbursement tracker                          0.40   $     245.00   $     98.00
       94    MEJ        7/8/2008 Provide comments on GT's Confirmation Order                 0.70   $     405.00   $    283.50
       95    MEJ        7/8/2008 Review MEJ declaration                                      0.30   $     405.00   $    121.50
                                 Analyze and provide supporting documentation for
       96    MEJ        7/8/2008 Perfect Trade claim                                         0.70   $     405.00   $    283.50
       97    MEJ        7/8/2008 Analyze Union Priority payments                             0.80   $     405.00   $    324.00
       98    MEJ        7/8/2008 Review Week #16 Scorecard                                   1.30   $     405.00   $    526.50
                                 Review, analyze and provide comments on DeLage
       99    MEJ        7/8/2008 Stipulation                                                 0.70   $     405.00   $    283.50
      100    MEJ        7/8/2008 Provide information re: Epiq                                0.30   $     405.00   $    121.50
      101    MEJ        7/8/2008 Review Epiq Declaration/Affidavit                           0.40   $     405.00   $    162.00
      102    MEJ        7/8/2008 Continued work on Class 5 PMSI claims                       0.60   $     405.00   $    243.00
      103    MEJ        7/8/2008 Review cf rollforward                                       1.70   $     405.00   $    688.50
      104    MEJ        7/8/2008 Discussion with PS re: Ultra inventory                      0.60   $     405.00   $    243.00
      105    MEJ        7/8/2008 Discussion and analysis re: availability                    0.30   $     405.00   $    121.50
      106    MEJ        7/8/2008 Follow-up work on claims analysis                           0.30   $     405.00   $    121.50
      107    MEJ        7/8/2008 Continued review of 13 week cf rollforward                  0.30   $     405.00   $    121.50
      108    MEJ        7/8/2008 Emails re: various case matters                             0.30   $     405.00   $    121.50
                                 Meeting with Ms. Roman to review and discuss weekly
      109    MAK        7/9/2008 disbursements                                               0.30   $     245.00   $     73.50
      110    MAK        7/9/2008 Prep rolling variance and rolling scorecard schedules       0.50   $     245.00   $    122.50
      111    MAK        7/9/2008 Revise 13-week CF                                           2.20   $     245.00   $    539.00
                                 Meeting with Ms. Roman to review and discuss weekly
      112    MAK        7/9/2008 disbursements                                               0.20   $     245.00   $     49.00
      113    MAK        7/9/2008 Revise 13-week CF                                           1.10   $     245.00   $    269.50
      114    MAK        7/9/2008 Revise 13-week CF                                           0.80   $     245.00   $    196.00
                                 Meeting with Mr. Sorenson to review and discuss
      115    MAK        7/9/2008 weekly disbursements and 13-week rollforward                0.60   $     245.00   $    147.00
      116    MEJ        7/9/2008 Update with MF re: environmental matters                    0.20   $     405.00   $     81.00
      117    MEJ        7/9/2008 Discussion with MK re: cf rollforward                       0.10   $     405.00   $     40.50
      118    MEJ        7/9/2008 Update professional fee spreadsheet                         0.20   $     405.00   $     81.00

      119    MEJ        7/9/2008 Analyze collateral rollforwards re: 13 week cf forecast     1.10   $     405.00   $    445.50
      120    MAK       7/10/2008 Finalize 13-week CF rollforward                             0.90   $     245.00   $    220.50
      121    MAK       7/10/2008 Discussion with Ms Roman re disbursements                   0.30   $     245.00   $     73.50
                                 Detailed analysis/comparison of availability and cf
      122    MEJ       7/10/2008 rollforward versions and cap                                3.10   $     405.00   $   1,255.50
      123    MEJ       7/10/2008 Discussions with Irv - update                               0.40   $     405.00   $     162.00
      124    MEJ       7/10/2008 Update emergence funding spreadsheet/estimate               0.70   $     405.00   $     283.50
      125    MEJ       7/10/2008 Emails with HIG and JHC re: professional fees               0.20   $     405.00   $      81.00
      126    MAK       7/11/2008 Discussion with Ms Roman re disbursements                   0.30   $     245.00   $      73.50
      127    MEJ       7/11/2008 emails with JHC                                             0.10   $     405.00   $      40.50
      128    MEJ       7/11/2008 Review ar agings                                            0.50   $     405.00   $     202.50
      129    MAK       7/14/2008 Begin cash flow scorecard                                   2.10   $     245.00   $     514.50
      130    MAK       7/14/2008 Prepare cash flow scorecard                                 1.40   $     245.00   $     343.00
      131    MAK       7/14/2008 Continue cash flow scorecard                                1.30   $     245.00   $     318.50
      132    MAK       7/14/2008 Revise cash flow scorecard                                  1.10   $     245.00   $     269.50
      133    MAK       7/14/2008 Finalize cash flow scorecard                                0.70   $     245.00   $     171.50
      134    MAK       7/14/2008 Begin 13-week CF rollforward                                2.20   $     245.00   $     539.00
                                 Review various emails re: case status, environmental
      135    MEJ       7/14/2008 issues                                                      0.30   $     405.00   $    121.50



                                                               Page 3 of 5
    Case 08-14631-GMB                Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                              Desc
                                           Exhibit A Page 34 of 35


Exhibit B
5th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/30/08 thru 8/03/08



  Entry                                                                                               Hourly   Professional
 Number Employee        Date                          Description                        Hours         Rate        Fees
      136 MEJ          7/14/2008 Discuss case update with PS                               0.40   $     405.00 $    162.00
      137 MEJ          7/14/2008 Discuss case update with SG                               0.30   $     405.00 $    121.50
      138 MEJ          7/14/2008 Review availability                                       0.50   $     405.00 $    202.50
      139 MEJ          7/14/2008 Update professional fees                                  0.30   $     405.00 $    121.50
      140 MEJ          7/14/2008 Discussion with CK re: funding and effective date         0.40   $     405.00 $    162.00

      141    MEJ       7/14/2008 Various emails with MF and JP re: same, declaration       0.60   $     405.00   $    243.00
                                 Review loan agreements re: budget extension; draft
      142    MEJ       7/14/2008 email to CIT                                              1.90   $     405.00   $    769.50
      143    MEJ       7/14/2008 Review and finalize Jacoby declaration                    0.30   $     405.00   $    121.50

      144    MEJ       7/14/2008 Discussion with CIT re: budget beyond 7/20; follow-up     0.40   $     405.00   $    162.00
      145    MEJ       7/14/2008 Review Scorecard                                          1.40   $     405.00   $    567.00
      146    MEJ       7/14/2008 Review 13 week cf rollforward                             1.70   $     405.00   $    688.50
      147    MEJ       7/14/2008 Analyze existing and potential letters of credit          0.40   $     405.00   $    162.00
      148    MEJ       7/14/2008 Update professional fees                                  0.20   $     405.00   $     81.00
      149    MEJ       7/14/2008 email re professional fee escrow                          0.10   $     405.00   $     40.50
      150    MAK       7/15/2008 Prep 13-week CF rollforward                               2.30   $     245.00   $    563.50
      151    MAK       7/15/2008 Continue prep 13-week CF rollforward                      3.10   $     245.00   $    759.50
      152    MAK       7/15/2008 Revise 13-week CF                                         1.30   $     245.00   $    318.50
      153    MAK       7/15/2008 Update weekly disbursement tracker                        0.70   $     245.00   $    171.50
      154    MAK       7/15/2008 Finalize 13-week CF rollforward                           1.20   $     245.00   $    294.00
      155    MEJ       7/15/2008 Update with MF re: case status                            0.40   $     405.00   $    162.00
      156    MEJ       7/15/2008 Update with MK re: cf rollforward and prof fee escrow     0.20   $     405.00   $     81.00
      157    MEJ       7/15/2008 emails re: Exhibit B                                      0.10   $     405.00   $     40.50
      158    MEJ       7/15/2008 Discussion with HK re: budget                             0.20   $     405.00   $     81.00
      159    MEJ       7/15/2008 Discussion with CK re: professional fee estimate          0.10   $     405.00   $     40.50
                                 Review Brody email re: professional fee request and
      160    MEJ       7/15/2008 respond to same                                           0.30   $     405.00   $    121.50
      161    MEJ       7/15/2008 Discussion with Brody re: professional fee request        0.20   $     405.00   $     81.00
      162    MEJ       7/15/2008 Update professional fee spreadsheet                       0.20   $     405.00   $     81.00
      163    MEJ       7/15/2008 Finalize scorecard                                        0.20   $     405.00   $     81.00
      164    MEJ       7/15/2008 Review revised cf rollforward                             0.70   $     405.00   $    283.50
      165    MEJ       7/15/2008 Update emergence funding spreadsheet/estimate             0.30   $     405.00   $    121.50
      166    MEJ       7/16/2008 Update Exhibit B                                          0.10   $     405.00   $     40.50
      167    MEJ       7/16/2008 Discussion with PS re: funding                            0.20   $     405.00   $     81.00
      168    MEJ       7/16/2008 Update with MF re: case status                            0.30   $     405.00   $    121.50
                                 emails with JHC re: admin claims and emergence
      169    MEJ       7/16/2008 funding                                                   0.20   $     405.00   $     81.00
                                 Review various emails re: case status, environmental
      170    MEJ       7/16/2008 and other confirmation issues                             0.40   $     405.00   $    162.00
                                 Update emergence funding spreadsheet and provide
      171    MEJ       7/17/2008 memo/email to Debtor and Cozen                            0.70   $     405.00   $     283.50
      172    MEJ       7/17/2008 Various emails re confirmation issues and timing          0.20   $     405.00   $      81.00
      173    MEJ       7/18/2008 emails with JHC and hig re: 503b9                         0.30   $     405.00   $     121.50
      174    MEJ       7/18/2008 emails with Cozen re declaration                          0.20   $     405.00   $      81.00
      175    MEJ       7/21/2008 Review declaration and agenda                             0.20   $     405.00   $      81.00
      176    MEJ       7/21/2008 Prepare for testimony                                     2.90   $     405.00   $   1,174.50
      177    MEJ       7/21/2008 Update with MF re: Case Status                            0.40   $     405.00   $     162.00
      178    MEJ       7/21/2008 Review Class 10 Plan Note                                 0.10   $     405.00   $      40.50
      179    MEJ       7/21/2008 emails re: Ultra                                          0.10   $     405.00   $      40.50
      180    MEJ       7/21/2008 Begin actual to forecasted comparison                     0.80   $     405.00   $     324.00
      181    MEJ       7/21/2008 Update with HK                                            0.10   $     405.00   $      40.50



                                                             Page 4 of 5
    Case 08-14631-GMB                   Doc 622-3 Filed 09/03/08 Entered 09/03/08 13:50:48                               Desc
                                              Exhibit A Page 35 of 35


Exhibit B
5th Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         6/30/08 thru 8/03/08



  Entry                                                                                                   Hourly   Professional
 Number Employee           Date                           Description                        Hours         Rate        Fees
      182 MEJ             7/21/2008 Discussion with Jen re: Perfect Trade                      0.10   $     405.00 $     40.50
      183 MEJ             7/21/2008 Complete actual to forecasted comparison                   0.60   $     405.00 $    243.00
      184 MAK             7/22/2008 Begin cash flow scorecard                                  1.70   $     245.00 $    416.50
      185 MAK             7/22/2008 Prepare cash flow scorecard                                1.10   $     245.00 $    269.50
      186 MAK             7/22/2008 Continue cash flow scorecard                               1.10   $     245.00 $    269.50
      187 MAK             7/22/2008 Revise cash flow scorecard                                 0.60   $     245.00 $    147.00
      188 MAK             7/22/2008 Finalize cash flow scorecard                               0.70   $     245.00 $    171.50
      189 MAK             7/22/2008 Begin 13-week CF rollforward                               1.70   $     245.00 $    416.50
      190 MAK             7/22/2008 Prep 13-week CF rollforward                                1.90   $     245.00 $    465.50
      191 MEJ             7/22/2008 Prep for hearing                                           1.40   $     405.00 $    567.00
      192 MEJ             7/22/2008 Pre-meeting at Cozen; Attend confirmation hearing         12.00   $     405.00 $ 4,860.00
      193 MAK             7/23/2008 Continue prep 13-week CF rollforward                       1.10   $     245.00 $    269.50
      194 MAK             7/23/2008 Revise 13-week CF                                          1.30   $     245.00 $    318.50
      195 MAK             7/23/2008 Update weekly disbursement tracker                         0.40   $     245.00 $     98.00
      196 MAK             7/23/2008 Finalize 13-week CF rollforward                            1.30   $     245.00 $    318.50
      197 MEJ             7/23/2008 Review TN Filing                                           0.10   $     405.00 $     40.50
      198 MEJ             7/23/2008 Discussion with CK re: flow of funds                       0.30   $     405.00 $    121.50
      199 MEJ             7/23/2008 Review confirmation order                                  0.40   $     405.00 $    162.00
      200 MEJ             7/24/2008 Review scorecard                                           1.30   $     405.00 $    526.50
      201 MEJ             7/24/2008 Review CF Rollforward                                      2.40   $     405.00 $    972.00
      202 MEJ             7/24/2008 Update emergence funding spreadsheet                       0.30   $     405.00 $    121.50
      203 MEJ             7/25/2008 Update with HK re: status and preference items             0.40   $     405.00 $    162.00
      204 MEJ             7/28/2008 emails with MF re: $30 million cap                         0.10   $     405.00 $     40.50
      205 MEJ             7/28/2008 Update with PS re: case status, 90 day payments            0.30   $     405.00 $    121.50
                                    Review and provide additional information re: Liquid
       206     MEJ        7/28/2008 Solutions' claims                                          0.40   $     405.00   $    162.00
       207     MEJ        7/28/2008 Review various orders and filings                          0.30   $     405.00   $    121.50
       208     MEJ        7/28/2008 Discussion with MF re: case status, timing, funding        0.80   $     405.00   $    324.00
       209     MEJ        7/28/2008 Update with HK re; case status                             0.10   $     405.00   $     40.50
                                    Discussion with CK re: emergence funding, timing, flow
       210     MEJ        7/28/2008 of funds                                                   0.30   $     405.00   $    121.50
       211     MEJ        7/28/2008 Follow-up email to MF et al re: same                       0.10   $     405.00   $     40.50
       212     MEJ        7/29/2008 Various emails re: Trustee meeting                         0.10   $     405.00   $     40.50
       213     MAK        7/30/2008 Begin cash flow scorecard                                  1.10   $     245.00   $    269.50
       214     MAK        7/30/2008 Prepare cash flow scorecard                                1.30   $     245.00   $    318.50
       215     MAK        7/30/2008 Continue cash flow scorecard                               1.60   $     245.00   $    392.00
       216     MAK        7/30/2008 Revise cash flow scorecard                                 0.70   $     245.00   $    171.50
       217     MAK        7/30/2008 Finalize cash flow scorecard                               0.30   $     245.00   $     73.50
       218     MAK        7/30/2008 Begin 13-week CF rollforward                               1.80   $     245.00   $    441.00
       219     MAK        7/30/2008 Continue prep 13-week CF rollforward                       1.10   $     245.00   $    269.50
       220     MEJ        7/30/2008 Discussion with PS re: Wells Fargo financing               0.40   $     405.00   $    162.00
       221     MEJ        7/31/2008 Update with MF re: Effective Date, Closing items           0.30   $     405.00   $    121.50
       222     MAK         8/1/2008 Finalize 13-week CF rollforward                            0.40   $     245.00   $     98.00
       223     MEJ         8/1/2008 Review scorecard                                           1.20   $     405.00   $    486.00
       224     MEJ         8/1/2008 Review CF Rollforward                                      2.20   $     405.00   $    891.00
       225     MEJ         8/1/2008 Update emergence funding spreadsheet                       0.30   $     405.00   $    121.50

Total - 5th Fee Application                                                                  186.90                  $ 60,286.50




                                                                Page 5 of 5
